Case 2:21-cv-04920-WLH-ADS       Document 267   Filed 02/08/23   Page 1 of 84 Page ID
                                       #:5528


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  14                                              Defendant,
                                                  COREY URMAN
  15
                             UNITED STATES DISTRICT COURT
  16                        CENTRAL DISTRICT OF CALIFORNIA
  17                              SOUTHERN DIVISION

  18 SERENA FLEITES,                         CASE NO. 2:21-CV-04920-CJC-ADS
  19               Plaintiff,
                                             DISCOVERY DOCUMENT:
  20         v.                              REFERRED TO MAGISTRATE
                                             JUDGE AUTUMN D. SPAETH
  21 MINDGEEK S.A.R.L.; MG
     FREESITES, LTD; MINDGEEK                NOTICE OF MOTION AND
  22 USA INCORPORATED; MG                    PLAINTIFF’S MOTION TO COMPEL
     PREMIUM LTD.; MG GLOBAL                 DEFENDANT COREY URMAN’S
  23 ENTERTAINMENT INC.; 9219-               RESPONSES TO PLAINTIFF’S FIRST
     1568 QUEBEC, INC.; BERND                REQUEST FOR PRODUCTION OF
  24 BERGMAIR; FERAS ANTOON;                 DOCUMENTS AND
     DAVID TASSILLO; COREY                   INTERROGATORIES
  25 URMAN; VISA INC.; COLBECK               Date: March 8, 2023
     CAPITAL DOES 1-5;                       Time: 10:00 a.m.
  26 BERGMAIR DOES 1-5                       Courtroom: 6B
  27               Defendants.               Jurisdictional Discovery Cutoff:
                                             May 1, 2023
  28
                                                              CASE NO. 21-CV-04920-CJC-ADS
       NOTICE OF MOTION AND PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S
       RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND
       INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS                Document 267              Filed 02/08/23           Page 2 of 84 Page ID
                                                #:5529


   1                                           TABLE OF CONTENTS
   2
                                                                                                                             Page
   3
   4 JOINT STIPULATION .............................................................................................. 3
   5 I.   THE PARTIES’ PRELIMINARY STATEMENTS ........................................ 3

   6           A.       Plaintiff’s Preliminary Statement ........................................................... 3

   7           B.       Defendant’s Preliminary Statement ....................................................... 4

   8 II.       JOINT SPECIFICATION OF ISSUES IN DISPUTE ..................................... 7

   9           A.       Requests for Production in Dispute ....................................................... 7

  10           B.       Interrogatories in Dispute..................................................................... 39

  11 III.      PLAINTIFF’S POSITION ............................................................................. 44

  12           A.       Plaintiff’s Motion To Compel .............................................................. 44

  13                    1.       Urman Cannot Avoid Discovery Just Because the
                                 MindGeek Entity Defendants May Provide Discovery ............. 45
  14
                        2.       Urman Refuses to Produce Documents and
  15                             Communications Concerning Plaintiff ...................................... 46

  16                    3.       Urman Disregards this Court’s Rulings Concerning the
                                 Permissible Scope of Jurisdictional Discovery ......................... 47
  17
                        4.       Urman Refuses to Produce Documents and Sufficient
  18                             Information Relative to His Jurisdictional Contacts ................. 50

  19                    5.       Urman’s Privacy and Data Protection Objection is Without
                                 Merit........................................................................................... 52
  20
                        6.       Urman Has Refused to Conduct a Search for Responsive
  21                             Documents ................................................................................. 53

  22 IV.       URMAN’S POSITION .................................................................................. 54

  23           A.       Plaintiff’s Motion to Compel Should Be Denied in Full ..................... 54

  24                    1.       Plaintiff’s Motion Should Be Denied for Failure to
                                 Meaningfully Meet and Confer ................................................. 54
  25
                                 a.     Plaintiff Has Failed to Meaningfully Meet and
  26                                    Confer .............................................................................. 54
                                 b.     Plaintiff’s Motion Should Be Denied Due to Her
  27                                    Failure to Meet and Confer ............................................. 60
  28                    2.       Plaintiff Improperly Seeks MindGeek Corporate Records
                                 from Mr. Urman (RFP Nos. 1-17, 19-31, 33-54) ...................... 63
                                                             i                          CASE NO. 21-CV-04920-CJC-ADS
       PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
       FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS             Document 267             Filed 02/08/23           Page 3 of 84 Page ID
                                             #:5530


   1                 3.       Documents and Communications Concerning Plaintiff
                              (RFP 1) ....................................................................................... 66
   2
                     4.       Plaintiff’s Requests Go Far Beyond Jurisdictional
   3                          Discovery ................................................................................... 66
   4                          a.     CSAM policies (RFP Nos. 5, 10, 30, 33-42, 46, 49,
                                     52) .................................................................................... 67
   5                          b.     Where Money Flows (RFP Nos. 2-3, 6-9, 13-29,
   6                                 Rog Nos. 2-3) .................................................................. 67
                     5.       Plaintiff’s Requests for Documents and Information
   7                          Relative to Mr. Urman’s Jurisdictional Contacts Exceed
                              this Court’s Rulings Concerning the Permissible Scope of
   8                          Jurisdictional Discovery ............................................................ 74
   9                          a.    Plaintiff Seeks Information Related to Personal
                                    Contacts with the Jurisdiction (Rog No. 4, RFP Nos.
  10                                11-12) .............................................................................. 74
  11                          b.    Plaintiff Seeks Communications with Other
                                    Defendants Related to this Action (RFP No. 4) .............. 76
  12                          c.    Plaintiff Seeks Materials Beyond the Scope of
                                    Authorized Jurisdictional Discovery (RFP No. 32
  13                                and ROG Nos. 4) ............................................................. 76
  14                 6.       Mr. Urman Has Conducted A Reasonably Diligent Search
                              for Documents ........................................................................... 78
  15 V.      CONCLUSION .............................................................................................. 79
  16         A.      Plaintiff’s Conclusion .......................................................................... 79
  17         B.      Defendant’s Conclusion ....................................................................... 79
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                            ii              CASE NO. 21-CV-04920-CJC-ADS
       PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
       FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267     Filed 02/08/23   Page 4 of 84 Page ID
                                      #:5531


   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on March 8, 2023, at 10:00 a.m., or as soon
   3 thereafter as the matter may be heard, in the courtroom of the Honorable Autumn D.
   4 Spaeth, located at the Ronald Reagan Federal Building and United States Courthouse,
   5 Courtroom 6B, 411 West Fourth Street, Santa Ana, CA 92701, Plaintiff Serena Fleites
   6 (“Plaintiff”) will move the Court for an Order compelling defendant Corey Urman to
   7 respond to discovery and produce documents pursuant to Rules 33 and 34 of the
   8 Federal Rules of Civil Procedure.
   9         Plaintiff brings this motion pursuant to Rules 26, 33, 34, and 37 of the Federal
  10 Rules of Civil Procedure; Local Rule 37-2, and this Court’s July 2018 Standing
  11 Orders on Discovery Disputes.
  12         In accordance with L.R. 7-3 and 37-1, counsel for Plaintiff and Defendant
  13 Corey Urman conferred by telephone on December 15, 2022 and January 6, 2023.
  14         Plaintiff bases this motion on this Notice, the Parties’ Joint Stipulation
  15 regarding this discovery dispute, the pleadings and papers on file in this action, and
  16 on such other evidence as may be submitted to the Court. Plaintiff submits a proposed
  17 order with this application.
  18
  19
  20 Dated: February 8, 2023
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                                            1               CASE NO. 21-CV-04920-CJC-ADS
       PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
       FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267    Filed 02/08/23   Page 5 of 84 Page ID
                                     #:5532


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                                            2               CASE NO. 21-CV-04920-CJC-ADS
       PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
       FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267     Filed 02/08/23    Page 6 of 84 Page ID
                                       #:5533


   1                                 JOINT STIPULATION
   2 I.      THE PARTIES’ PRELIMINARY STATEMENTS
   3         A.     Plaintiff’s Preliminary Statement
   4         This Court ordered the MindGeek Defendants, including the Individual
   5 Defendants, to submit to jurisdictional discovery, (Dkt. 167, at 1), specifically
   6 identifying the following areas of relevant inquiry: “where the money flows in the
   7 Mindgeek web,” which entities or individuals exercise operational control over the
   8 MindGeek entities that monetized Plaintiff’s child sexual abuse material (“CSAM”),
   9 and whether these individuals and entities are alter egos of each other. (Dkt. 167, at
  10 3 n.2, 4-7). Consistent with this Order, Plaintiff served discovery requests tracking
  11 the precise categories of information this Court held to be relevant to its jurisdictional
  12 analysis on the MindGeek Entity Defendants, the Individual Defendants, and
  13 defendants’ auditors, third party-Grant Thornton. This Court thereafter affirmed the
  14 relevance of the categories of information Plaintiff seeks and issued letters rogatory
  15 to various Grant Thornton entities seeking the same categories of information that
  16 Plaintiff seeks from defendant Urman. See Dkt. 211 at 5-6 (“The Court agrees with
  17 Plaintiff that the information is relevant to the Court’s jurisdictional analysis and
  18 ensures Plaintiff ‘obtains complete and accurate information.’”).
  19         Despite two court orders, Urman has stonewalled Plaintiff’s efforts to take
  20 basic jurisdictional discovery, refusing to produce any documents or even to conduct
  21 a search for responsive documents. Urman has taken the position that he is not
  22 required to participate in discovery – even to search for documents – because the
  23 Mindgeek Entity Defendants might produce discovery. But this Court has already
  24 rejected the argument that an entity or individual need not participate in discovery
  25 because the information they possess would be duplicative of documents produced by
  26 any other party, (Dkt. 211 at 4), and this holding applies with greater force where the
  27 party resisting discovery is a defendant in this action. Moreover, defendant Urman
  28 has held key management positions within the MindGeek Enterprise, including vice-
                                            3              CASE NO. 21-CV-04920-CJC-ADS
       PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
       FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267     Filed 02/08/23    Page 7 of 84 Page ID
                                       #:5534


   1 president of product management, video-sharing platforms, and
   2
   3
   4                                        .1 See Doyle Decl., Exhibit 4, Resp. to ROG No.
   5 1. Accordingly, he likely possesses certain information that may not also be in the
   6 possession of other defendants in this action. Nevertheless, he has not produced a
   7 single document to date.
   8         Urman was obligated both to conduct a reasonable search for responsive
   9 documents and to state in his responses whether he is withholding any responsive
  10 materials on the basis of any of his stated objections. The Court has already confirmed
  11 that the individual defendants are part of jurisdictional discovery. See Dkt. 167 at 7
  12 (rejecting Individual Defendants’ argument that jurisdictional discovery was
  13 unwarranted and ordering Individual Defendants to submit to discovery, in part, based
  14 on finding that Plaintiff “has alleged facts bearing on the MindGeek Individual
  15 Defendants’ direction of specific policies pursuant to which Plaintiff was harmed”).
  16 This Court should Order Urman to produce documents in response to Plaintiff’s RFPs
  17 1-30, 32-42, 46, 49, and 52 and to supplement his responses to Plaintiff’s ROGs 2, 3,
  18 4, and 6.2
  19         B.     Defendant’s Preliminary Statement
  20         Defendant Corey Urman is a citizen of Canada with virtually no connection to
  21 California or the United States. During the relevant time period, he was an employee
  22
       In his testimony at the 19th meeting of the Canadian House of Commons Standing
       1

  23 Committee on Access to Information, Privacy and Ethics, Urman provided testimony
  24 while serving in his capacity as Vice President, Product Management, Video-Sharing
     platforms and readily admitted to using the alias “Corey Price” when communicating
  25 with the public. See HOUSE OF COMMONS, CHAMBRE DES COMMUNES CANADA,
  26 ETHI Committee Meeting – Evidence, Friday February 5, 2021,
     https://www.ourcommons.ca/DocumentViewer/en/43-2/ETHI/meeting-19/evidence.
  27 2
       Plaintiff reserves her right to further move this Court for any of the remaining RFPs
  28 or ROGs which have not been fully responded to by Defendant Urman.
                                                 4                 CASE NO. 21-CV-04920-CJC-ADS
       PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
       FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267      Filed 02/08/23   Page 8 of 84 Page ID
                                       #:5535


   1 of 9219-1568 Quebec, Inc., one of the MindGeek Entity Defendants, which was
   2 headquartered in Canada. He had no contact with Plaintiff Serena Fleites and has no
   3 documents in his possession concerning her for the relevant time period. (Akoglu
   4 Decl., ¶22).
   5         The Court’s July 29, 2022 Order (Akoglu Decl., Ex. A) permitted jurisdictional
   6 discovery of Mr. Urman and the other individual defendants with respect to two
   7 theories. First, the Court noted that, although the Amended Complaint offered only
   8 “scattershot” and “conclusory” allegations which gave the Court “some concern that
   9 Plaintiff is merely guessing at who bears responsibility” for MindGeek CSAM
  10 policies (id. at 5-6), Plaintiff could take jurisdictional discovery regarding the
  11 Individual Defendants’ roles in directing or implementing the MindGeek CSAM
  12 polices that allegedly resulted in Plaintiff’s causes of action. Id. at 6. Second, the
  13 Court noted that, although Plaintiff’s allegations were “conclusory, vague, and
  14 indeed, quite difficult to follow at times,” she could take jurisdictional discovery to
  15 determine if she had “a workable alter ego theory” to impute to the Individual
  16 Defendants the contacts of the MindGeek corporate entities who concede jurisdiction.
  17 Id. at 6. More recently, the Court recognized that, even authorized, “jurisdictional
  18 discovery requests must still be tailored to seek discovery that relates to an opposing
  19 party’s jurisdictional contacts.” Dkt. No. 260 (Feb. 3, 2023, Order on Plaintiff’s
  20 Motion to Compel).
  21         Despite the limited scope of jurisdictional discovery, Plaintiff served 60
  22 overbroad discovery requests (54 document requests and 6 interrogatories) on Mr.
  23 Urman and the other Individual Defendants, and has admitted that those requests
  24 sought merits discovery (in addition to addressing certain jurisdictional issues). Even
  25 after the Court rejected Plaintiff’s efforts to seek merits discovery, Plaintiff refused to
  26 narrow almost the entirety of her document requests and interrogatories. She now
  27 seeks to compel Mr. Urman to respond to 48 of her 60 patently overbroad requests.
  28 Her motion should be denied for several reasons.
                                             5              CASE NO. 21-CV-04920-CJC-ADS
       PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
       FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267     Filed 02/08/23   Page 9 of 84 Page ID
                                      #:5536


   1         First, Plaintiff has not meaningfully engaged in the meet-and-confer process as
   2 required by L.R. 37-1. Despite serving requests which are so broad as to encompass
   3 virtually every piece of paper and electronic record in Mr. Urman’s possession related
   4 to MindGeek for an eight-year period, she rebuffed the Individual Defendants’
   5 repeated requests to narrow her overbroad requests. And, to make matters worse,
   6 following the January 11, 2023 hearing on Plaintiff’s motion to compel the MindGeek
   7 Entities, Plaintiff claimed a willingness to meet and confer, promising to be “Back in
   8 touch shortly[,]” but then never contacted defense counsel to confer. (Ex. Q January
   9 18, 2023, email from D. Stein) Instead, on February 1, 2023, Plaintiff emailed her
  10 portion of a joint stipulation on a motion to compel each Individual Defendant to
  11 respond to nearly all of her overbroad discovery requests as written, without any
  12 narrowing constructions whatsoever. This alone is a basis to deny her motion.
  13         Second, virtually all the records Plaintiff seeks are prototypical corporate
  14 records created and maintained by MindGeek, such as corporate financial statements,
  15 corporate tax returns, board minutes and corporate document preservation policies, or
  16 emails with individuals on the MindGeek email system. Despite this, Plaintiff seeks
  17 to compel Mr. Urman to produce these records rather than MindGeek, which already
  18 has produced thousands of pages on this subject and has not been the subject of a
  19 motion to compel. Fed. R. Civ. P. 26(b)(2)(C)(i) specifically requires a court to limit
  20 discovery where it is “unreasonably cumulative or duplicative, or can be obtained
  21 from some other source that is more convenient, less burdensome, or less expensive.”
  22 Here, it would plainly be “more convenient” and “less burdensome” to obtain the
  23 documents from MindGeek.
  24         Third, Plaintiff’s requests far exceed the scope of the jurisdictional discovery
  25 permitted by the Court. Mr. Urman has already agreed to produce documents related
  26 to the two subjects on which jurisdictional discovery was authorized: (1) any
  27 documents in his possession concerning Serena Fleites or reflecting formulation of
  28 MindGeek’s CSAM policies; and (2) with respect to alter ego, Mr. Urman has made
                                          6                  CASE NO. 21-CV-04920-CJC-ADS
       PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
       FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 10 of 84 Page
                                    ID #:5537


  1 clear in his interrogatory responses that the
  2
  3                                                                        , but to the extent
  4 he has records reflecting distributions to the other Individual Defendants, he has
  5 agreed to produce them. Moreover, Plaintiff already has received 7,000 pages of
  6 detailed financial and corporate information from MindGeek which explain the
  7 structure and flow of money at the company. This discovery provides sufficient
  8 information on the subjects relevant to the alter ego theory Plaintiff was permitted to
  9 explore. The further discovery Plaintiff seeks from Mr. Urman is not “proportional”
 10 under Fed. R. Civ. P. 26.
 11         Finally, Plaintiff’s arguments are laced with false accusations that Mr. Urman
 12 has done no search of his documents. That is incorrect, as Plaintiff has been told
 13 repeatedly and as described below.
 14 II.     JOINT SPECIFICATION OF ISSUES IN DISPUTE
 15         A.    Requests for Production in Dispute
 16         Request for Production No. 1: “All documents and communications concerning
 17         Serena Fleites.”
 18
 19         Response to Request for production No. 1: “In addition to the above

 20         Preliminary Statement and General Objections, Mr. Urman objects to this

 21         Request on the grounds it is not proportional to the needs of addressing the

 22         Court’s exercise of personal jurisdiction over Mr. Urman or to the Court’s

 23         assessment of the viability of Plaintiff’s alter ego arguments. Mr. Urman

 24         further objects to this Request to the extent it assumes that “communications”

 25         are “jurisdictional contacts” or are relevant to the question of whether the Court

 26         has personal jurisdiction over Mr. Urman. Mr. Urman further objects to the

 27         term “concerning Serena Fleites” as vague and overbroad. Mr. Urman further

 28         objects to this Request on the basis that it is duplicative of information already
                                           7               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23        Page 11 of 84 Page
                                   ID #:5538


  1        sought by Plaintiff from MindGeek. Mr. Urman further objects to this Request
  2        to the extent it seeks documents currently in the exclusive control of MindGeek.
  3        Subject to and without waiving any and all objections, Mr. Urman states that
  4        he has no communications with Serena Fleites, but acknowledges his obligation
  5        to timely update this response as warranted.”
  6
  7        Request for Production No. 2: “All documents and communications concerning
  8        or relating to Your affiliation with, employment by, or ownership of MindGeek,
  9        any MindGeek Related Entity, or any MindGeek Tubesites.”
 10
 11        Response to Request for Production No. 2: “In addition to the above
 12        Preliminary Statement and General Objections, Mr. Urman objects to the
 13        undefined term “affiliation.” Mr. Urman further objects to this Request on the
 14        grounds it is overbroad, unduly burdensome, not reasonably calculated to lead
 15        to the discovery of admissible evidence, and not proportional to the needs of
 16        the case, particularly to the needs of addressing the Court’s exercise of personal
 17        jurisdiction over Mr. Urman or to the Court’s assessment of the viability of
 18        Plaintiff’s alter ego arguments. Mr. Urman further objects to the extent this
 19        Request seeks information protected by the attorney-client privilege or work
 20        product doctrine. Mr. Urman further objects to this Request on the basis that it
 21        is duplicative of information already sought by Plaintiff from MindGeek. Mr.
 22        Urman further objects to this Request to the extent it seeks documents currently
 23        in the exclusive control of MindGeek. Subject to and without waiving any and
 24        all objections, Mr. Urman refers to and incorporates his response to
 25        Interrogatory No. 1, and agrees to meet and confer should there be remaining
 26        questions on this topic.”
 27
 28        Request for Production No. 3: “All documents and communications concerning
                                              8               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 12 of 84 Page
                                    ID #:5539


  1        or reflecting any income, revenue, or other monies You have received from
  2        MindGeek, any MindGeek Related Entity, or any MindGeek Tubesites.”
  3
  4        Response to Request for Production No. 3: “In addition to the above
  5        Preliminary Statement and General Objections, Mr. Urman objects to this
  6        Request on the grounds it is overbroad, unduly burdensome, not reasonably
  7        calculated to lead to the discovery of admissible evidence, and not proportional
  8        to the needs of the case, particularly to the needs of addressing the Court’s
  9        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 10        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects to
 11        the extent this Request seeks information protected by the attorney-client
 12        privilege or work product doctrine. Mr. Urman further objects to this Request
 13        on the basis that it is duplicative of information already sought by Plaintiff from
 14        MindGeek. Mr. Urman further objects to this Request to the extent it seeks
 15        documents currently in the exclusive control of MindGeek.”
 16
 17        Request for Production No. 4: “All documents and communications between
 18        and among You and any of the Defendants related to this Action.”
 19
 20        Response to Request for Production No. 4: “In addition to the above
 21        Preliminary Statement and General Objections, Mr. Urman objects to this
 22        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 23        calculated to lead to the discovery of admissible evidence, and not proportional
 24        to the needs of the case, particularly to the needs of addressing the Court’s
 25        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 26        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects to
 27        the extent this Request seeks information protected by the attorney-client
 28        privilege or work product doctrine. Mr. Urman further objects to this Request
                                             9               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 13 of 84 Page
                                    ID #:5540


  1        to the extent it seeks documents currently in the exclusive control of
  2        MindGeek.”
  3
  4        Request for Production No. 5: “All documents and communications between
  5        and among You and any of the Defendants related to the presence of any CSAM
  6        on any MindGeek site, any MindGeek Related Entity site, or any MindGeek
  7        Tubesites.”
  8
  9        Response to Request for Production No. 5: “In addition to the above
 10        Preliminary Statement and General Objections, Mr. Urman objects to this
 11        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 12        calculated to lead to the discovery of admissible evidence, and not proportional
 13        to the needs of the case, particularly to the needs of addressing the Court’s
 14        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 15        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects to
 16        the extent this Request seeks information protected by the attorney-client
 17        privilege or work product doctrine. Mr. Urman further objects to this Request
 18        on the basis that it is duplicative of information already sought by Plaintiff from
 19        MindGeek. Mr. Urman further objects to this Request to the extent it seeks
 20        documents currently in the exclusive control of MindGeek.”
 21
 22        Request for Production No. 6: “All documents describing, depicting,
 23        explaining, or relating to the past or present corporate and ownership
 24        organization and structure of MindGeek, the identity of all affiliated or related
 25        party entities, corporations, limited partnerships, limited liability companies,
 26        partnerships, or other entities; the nature of the direct, indirect or beneficial
 27        ownership or other interests held by any such person, entity, or organization;
 28        and the owners, members, directors, managers, lenders, secured parties, general
                                            10                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 14 of 84 Page
                                    ID #:5541


  1         or limited partners, executives, and outside law firms and accountants of such
  2         entities.”
  3
  4         Response to Request for Production No. 6: “In addition to the above
  5         Preliminary Statement and General Objections, Mr. Urman objects to this
  6         Request on the grounds it is overbroad, unduly burdensome, not reasonably
  7         calculated to lead to the discovery of admissible evidence, and not proportional
  8         to the needs of the case, particularly to the needs of addressing the Court’s
  9         exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 10         of the viability of Plaintiff’s alter ego arguments. Nor is the Request limited to
 11         the entities who are parties to this lawsuit. Mr. Urman further objects to the
 12         extent this Request seeks information protected by the attorney-client privilege
 13         or work product doctrine. Mr. Urman further objects to producing documents
 14         identifying all managers, lenders, secured parties, executives, outside law firms
 15         or accountants as unrelated to the issue of personal jurisdiction over Mr.
 16         Urman. Mr. Urman further objects to this Request on the basis that it is
 17         duplicative of information already sought by Plaintiff from MindGeek. Mr.
 18         Urman further objects to this Request to the extent it seeks documents currently
 19         in the exclusive control of MindGeek.”
 20
 21         Request for Production No. 7: “All documents related to any past or present,
 22         direct, indirect, or beneficial ownership, lending, or secured or other economic
 23         interest in, or business relationship with, MindGeek or any MindGeek Related
 24         Entity by You or any of the other Individual Defendants, Colbeck Capital, JP
 25         Morgan Chase, Fortress Investment Group, Cornell, Bjorn Daniel Sudan, or
 26         Shaileshkumar P. Jain (a/k/a “Sam” Jain) or individuals or entities introduced
 27         or represented by such persons or entities.”
 28
                                           11              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23        Page 15 of 84 Page
                                   ID #:5542


  1        Response to Request for Production No. 7: “In addition to the above
  2        Preliminary Statement and General Objections, Mr. Urman objects to this
  3        Request on the grounds it is overbroad, unduly burdensome, not reasonably
  4        calculated to lead to the discovery of admissible evidence, and not proportional
  5        to the needs of the case, particularly to the needs of addressing the Court’s
  6        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
  7        of the viability of Plaintiff’s alter ego arguments. Nor is the Request limited to
  8        the entities who are parties to this lawsuit. Mr. Urman further objects on the
  9        grounds that the phrase “beneficial ownership or other interests” is vague and
 10        ambiguous. Mr. Urman further objects to this Request on the basis that it is
 11        duplicative of information already sought by Plaintiff from MindGeek. Mr.
 12        Urman further objects to this Request to the extent it seeks documents currently
 13        in the exclusive control of MindGeek.
 14
 15        Subject to and without waiving any and all objections, Mr. Urman refers to and
 16        incorporates his response to Interrogatory No. 1, and agrees to meet and confer
 17        should there be remaining questions on this topic.”
 18
 19        Request for Production No. 8: “All documents related to any past or present,
 20        direct, indirect or beneficial ownership, licensing, or secured or other economic
 21        interest of, or in, any intellectual property owned or licensed, directly or
 22        indirectly by You related to MindGeek, any MindGeek Related Entity, or any
 23        MindGeek Tubesites.”
 24
 25        Response to Request for Production No. 8: “In addition to the above
 26        Preliminary Statement and General Objections, Mr. Urman objects to this
 27        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 28        calculated to lead to the discovery of admissible evidence, and not proportional
                                               12                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23          Page 16 of 84 Page
                                    ID #:5543


  1        to the needs of the case, particularly to the needs of addressing the Court’s
  2        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
  3        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
  4        who are parties to this lawsuit or intellectual property related to either Pornhub
  5        or the claims at issue in this litigation. Mr. Urman further objects to this
  6        Request on the basis that it is duplicative of information already sought by
  7        Plaintiff from MindGeek. Mr. Urman further objects to this Request to the
  8        extent it seeks documents currently in the exclusive control of MindGeek.”
  9
 10        Request for Production No. 9: “All documents describing, depicting,
 11        explaining, or relating to MindGeek’s past or present internal organizational
 12        structure, offices, departments, executives, and personnel.”
 13
 14        Response to Request for Production No. 9: “In addition to the above
 15        Preliminary Statement and General Objections, Mr. Urman objects to this
 16        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 17        calculated to lead to the discovery of admissible evidence, and not proportional
 18        to the needs of the case, particularly to the needs of addressing the Court’s
 19        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 20        of the viability of Plaintiff’s alter ego arguments. Nor is the Request limited to
 21        the entities who are parties to this lawsuit. Mr. Urman further objects on the
 22        grounds that the phrase “internal organizational structure” is vague and
 23        ambiguous. Mr. Urman further objects that this Request is overbroad and
 24        unduly burdensome to that extent it seeks “all documents... relating to…
 25        personnel.” Mr. Urman further objects to this Request as overbroad and unduly
 26        burdensome to the extent it asks Mr. Urman to produce documents identifying
 27        the employees of all MindGeek entities for a seven-year period. Mr. Urman
 28        further objects to this Request on the basis that it is duplicative of information
                                              13                   CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23        Page 17 of 84 Page
                                   ID #:5544


  1        already sought by Plaintiff from MindGeek. Mr. Urman further objects to this
  2        Request to the extent it seeks documents currently in the exclusive control of
  3        MindGeek.”
  4
  5        Request for Production No. 10: “All documents identifying all MindGeek or
  6        outside personnel or vendors with any current or past responsibility for
  7        moderating,    monitoring,    formatting,   optimizing,    filtering,   reviewing,
  8        screening, or removing content on any MindGeek platform or website, the
  9        entities they were retained and employed by, and the entities that they were
 10        compensated by, whether salary, bonus or otherwise.”
 11
 12        Response to Request for Production No. 10: “In addition to the above
 13        Preliminary Statement and General Objections, Mr. Urman objects to this
 14        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 15        calculated to lead to the discovery of admissible evidence, and not proportional
 16        to the needs of the case, particularly to the needs of addressing the Court’s
 17        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 18        of the viability of Plaintiff’s alter ego arguments. Nor is the Request limited to
 19        the entities who are parties to this lawsuit. Mr. Urman further objects on the
 20        grounds that terms “outside personnel” and “vendors” is vague and ambiguous.
 21        Mr. Urman further objects to the extent this Request is not limited to Pornhub,
 22        the only tubesite on which Plaintiff alleges content depicting her was uploaded.
 23        Mr. Urman further objects to this Request as overbroad and unduly burdensome
 24        to the extent it asks Mr. Urman to produce documents identifying the
 25        employees of all MindGeek entities for a seven-year period. Mr. Urman further
 26        objects to this Request on the basis that it is duplicative of information already
 27        sought by Plaintiff from MindGeek. Mr. Urman further objects to this Request
 28        to the extent it seeks documents currently in the exclusive control of
                                        14               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 18 of 84 Page
                                    ID #:5545


  1         MindGeek.”
  2
  3         Request for Production No. 11: “All documents and communications relating
  4         to Your or MindGeek’s past or present jurisdictional contacts with the United
  5         States or California, including but not limited to, offices, residences, and real
  6         estate located in California or any jurisdiction in the United States.”
  7
  8         Response to Request for Production No. 11: “In addition to the above
  9         Preliminary Statement and General Objections, Mr. Urman objects to this
 10         Request on the grounds it is overbroad, unduly burdensome, not reasonably
 11         calculated to lead to the discovery of admissible evidence, and not proportional
 12         to the needs of the case, particularly to the needs of addressing the Court’s
 13         exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 14         of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects
 15         on the grounds that phrase “jurisdictional contacts” is vague and ambiguous
 16         and calls for legal conclusions. Mr. Urman further objects to this Request to
 17         the extent it assumes that any of the contacts identified in the Request are
 18         “jurisdictional contacts” or that the actions or “contacts” of MindGeek are
 19         relevant to the question of whether the Court has personal jurisdiction over Mr.
 20         Urman. Mr. Urman further objects that “contacts” generally in or with the
 21         United States are not relevant to whether personal jurisdiction exists in
 22         California. Mr. Urman further objects to this Request to the extent it seeks
 23         documents currently in the exclusive control of MindGeek.
 24
 25         Subject to and without waiving any and all objections, Mr. Urman refers to and
 26         incorporates his response to Interrogatory No. 4, and agrees to meet and confer
 27         should there be remaining questions on this topic.”
 28
                                           15              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23         Page 19 of 84 Page
                                    ID #:5546


  1        Request for Production No. 12: “All documents and communications relating
  2        to Your or MindGeek’s personnel or vendors employed, retained, paid, located
  3        in, or otherwise providing services in California or any jurisdiction in the
  4        United States; political activities in California or any jurisdiction in the United
  5        States, including through direct or indirect participation in, or financial support
  6        for, lobbying, trade, or industry, or activist organizations; trips to California or
  7        any jurisdiction in the United States; servers; revenues, profits, expenses, taxes
  8        earned or paid in or from California or any jurisdiction in the United States;
  9        and communications or business relationships with, to, from, or in California
 10        or any jurisdiction in the United States.”
 11
 12        Response to Request for Production No. 12: “In addition to the above
 13        Preliminary Statement and General Objections, Mr. Urman objects to this
 14        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 15        calculated to lead to the discovery of admissible evidence, and not proportional
 16        to the needs of the case, particularly to the needs of addressing the Court’s
 17        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 18        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects to
 19        the terms “vendors” and “lobbying, trade, or industry, or activist organizations”
 20        as vague and ambiguous. Mr. Urman further objects to the Request for
 21        information regarding unspecified communications and unspecified business
 22        relationships that have no connection the allegations in this case. Mr. Urman
 23        further objects to this Request as duplicative of Request No. 11. Mr. Urman
 24        further objects to this Request to the extent it seeks documents currently in the
 25        exclusive control of MindGeek.
 26
 27        Subject to and without waiving any and all objections, Mr. Urman refers to and
 28        incorporates his response to Interrogatory No. 4, and agrees to meet and confer
                                              16                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23          Page 20 of 84 Page
                                     ID #:5547


  1         should there be remaining questions on this topic.”
  2
  3         Request for Production No. 13: “All documents reflecting annual revenues,
  4         profits and losses, and expenses for each MindGeek Related Entity or
  5         MindGeek Tubesite or the entity that owns or controls that platform or
  6         website.”
  7
  8         Response to Request for Production No. 13: “In addition to the above
  9         Preliminary Statement and General Objections, Mr. Urman objects to this
 10         Request on the grounds it is overbroad, unduly burdensome, not reasonably
 11         calculated to lead to the discovery of admissible evidence, and not proportional
 12         to the needs of the case, particularly to the needs of addressing the Court’s
 13         exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 14         of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
 15         who are parties to this lawsuit. Mr. Urman further objects to the extent this
 16         Request is not limited to Pornhub, the only tubesite on which Plaintiff alleges
 17         content depicting her was uploaded, or to MG Freesites Ltd, the entity that
 18         operates Pornhub. Mr. Urman further objects to this Request on the basis that
 19         it is duplicative of information already sought by Plaintiff from MindGeek. Mr.
 20         Urman further objects to this Request to the extent it seeks documents currently
 21         in the exclusive control of MindGeek.”
 22
 23         Request for Production No. 14: “All documents concerning, reflecting,
 24         describing, or relating to, or comprising of presentations to or from, proposed
 25         transactions from, or data and information provided or made available to, any
 26         actual or potential investors, lenders, secured parties, licensees, purchasers, or
 27         others concerning MindGeek or any MindGeek Related Entity.”
 28
                                           17              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23          Page 21 of 84 Page
                                    ID #:5548


  1        Response to Request for Production No. 14: “In addition to the above
  2        Preliminary Statement and General Objections, Mr. Urman objects to this
  3        Request on the grounds it is overbroad, unduly burdensome, not reasonably
  4        calculated to lead to the discovery of admissible evidence, and not proportional
  5        to the needs of the case, particularly to the needs of addressing the Court’s
  6        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
  7        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
  8        who are parties to this lawsuit. Mr. Urman also objects on the grounds that the
  9        term “or others” is vague and ambiguous. As written this Request also is
 10        overbroad and unduly burdensome to the extent it seeks all documents
 11        reflecting “information provided or made available to . . . others.” Mr. Urman
 12        further objects to this Request on the basis that it is duplicative of information
 13        already sought by Plaintiff from MindGeek. Mr. Urman further objects to this
 14        Request to the extent it seeks documents currently in the exclusive control of
 15        MindGeek.”
 16
 17        Request for Production No. 15: “All transaction documents, term sheets, and
 18        communications concerning any actual or proposed transactions involving the
 19        ownership of, loans to, secured interest in, or intellectual property or other
 20        rights related to MindGeek.”
 21
 22        Response to Request for Production No. 15: “In addition to the above
 23        Preliminary Statement and General Objections, Mr. Urman objects to this
 24        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 25        calculated to lead to the discovery of admissible evidence, and not proportional
 26        to the needs of the case, particularly to the needs of addressing the Court’s
 27        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 28        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
                                                  18              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 22 of 84 Page
                                    ID #:5549


  1        who are parties to this lawsuit. Mr. Urman also objects on the grounds that the
  2        term “other rights” is vague and ambiguous. Mr. Urman further objects to this
  3        Request on the basis that it is duplicative of information already sought by
  4        Plaintiff from MindGeek. Mr. Urman further objects to this Request to the
  5        extent it seeks documents currently in the exclusive control of MindGeek.”
  6
  7        Request for Production No. 16: “For each MindGeek entity, affiliate,
  8        subsidiary, or related entity, all financial, ledgers; shareholder, investor,
  9        director, member, manager, or partner lists; board presentation materials, board
 10        minutes, and calendars of board meetings or conferences; records reflecting
 11        capitalization, revenues, profits, tax payments, distributions or dividends, and
 12        distribution or dividend recipients for such entities; articles of incorporation or
 13        formation, by-laws, shareholder and lender agreements; profit and loss, balance
 14        sheet, tax, payroll, and expense records; and records reflecting the sources of
 15        all payments made to or on behalf of the entity, affiliate, subsidiary, or related
 16        entity.”
 17
 18        Response to Request for Production No. 16: “In addition to the above
 19        Preliminary Statement and General Objections, Mr. Urman objects to this
 20        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 21        calculated to lead to the discovery of admissible evidence, and not proportional
 22        to the needs of the case, particularly to the needs of addressing the Court’s
 23        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 24        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the
 25        individuals or entities who are parties to this lawsuit. Mr. Urman objects to the
 26        phrase “records reflecting the sources of all payments made to or on behalf of
 27        the entity, affiliate, subsidiary, or related entity” as vague and ambiguous. Mr.
 28        Urman objects to the production of financial ledgers, lists of investors or
                                          19               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23          Page 23 of 84 Page
                                    ID #:5550


  1        managers, lender agreements, payroll and expense records, and sources of
  2        payments as unrelated to any claim in this case or to personal jurisdiction. Mr.
  3        Urman further objects to this Request on the basis that it is duplicative of
  4        information already sought by Plaintiff from MindGeek. Mr. Urman further
  5        objects to this Request to the extent it seeks documents currently in the
  6        exclusive control of MindGeek.”
  7
  8        Request for Production No. 17: “For each MindGeek Entity, affiliate,
  9        subsidiary, or Related Entity, all quarterly and annual tax filings, audits,
 10        financials, and statutory reporting, including work papers and reports of its
 11        outside accountants.”
 12
 13        Response to Request for Production No. 17: “In addition to the above
 14        Preliminary Statement and General Objections, Mr. Urman objects to this
 15        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 16        calculated to lead to the discovery of admissible evidence, and not proportional
 17        to the needs of the case, particularly to the needs of addressing the Court’s
 18        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 19        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
 20        who are parties to this lawsuit. Mr. Urman objects to the term “work papers”
 21        as vague and ambiguous. Mr. Urman objects to the production of quarterly tax
 22        filings, audits, statutory reporting and any work product or reports prepared by
 23        outside accountants. Mr. Urman further objects to this Request on the basis that
 24        it is duplicative of information already sought by Plaintiff from MindGeek. Mr.
 25        Urman further objects to this Request to the extent it seeks documents currently
 26        in the exclusive control of MindGeek.”
 27
 28        Request for Production No. 18: “Your monthly, quarterly, and annual bank and
                                            20               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 24 of 84 Page
                                    ID #:5551


  1         investment statements.”
  2
  3         Response to Request for Production No. 18: “In addition to the above
  4         Preliminary Statement and General Objections, Mr. Urman objects to this
  5         Request on the grounds it is overbroad, unduly burdensome, not reasonably
  6         calculated to lead to the discovery of admissible evidence, and not proportional
  7         to the needs of the case, particularly to the needs of addressing the Court’s
  8         exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
  9         of the viability of Plaintiff’s alter ego arguments. Mr. Urman objects to the term
 10         “investment statement” as vague and ambiguous. Mr. Urman objects to the
 11         production of any work product or reports prepared by outside accountants.”
 12
 13         Request for Production No. 19: “All documents and communications related to
 14         any corporate reorganization by MindGeek and the purposes behind that
 15         reorganization.”
 16
 17         Response to Request for Production No. 19: “In addition to the above
 18         Preliminary Statement and General Objections, Mr. Urman objects to this
 19         Request on the grounds it is overbroad, unduly burdensome, not reasonably
 20         calculated to lead to the discovery of admissible evidence, and not proportional
 21         to the needs of the case, particularly to the needs of addressing the Court’s
 22         exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 23         of the viability of Plaintiff’s alter ego arguments. Mr. Urman objects to the term
 24         “corporate reorganization” as vague and ambiguous.           Mr. Urman further
 25         objects to this Request on the basis that it is duplicative of information already
 26         sought by Plaintiff from MindGeek. Mr. Urman further objects to this Request
 27         to the extent it seeks documents currently in the exclusive control of
 28         MindGeek.”
                                           21              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23        Page 25 of 84 Page
                                   ID #:5552


  1        Request for Production No. 20: “All documents or communications identifying
  2        the various subsidiaries comprising the business of MindGeek.”
  3
  4        Response to Request for Production No. 20: “In addition to the above
  5        Preliminary Statement and General Objections, Mr. Urman objects to this
  6        Request on the grounds it is overbroad, unduly burdensome, not reasonably
  7        calculated to lead to the discovery of admissible evidence, and not proportional
  8        to the needs of the case, particularly to the needs of addressing the Court’s
  9        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 10        of the viability of Plaintiff’s alter ego arguments. Mr. Urman objects to the term
 11        “various subsidiaries” as vague and ambiguous. Mr. Urman further objects to
 12        this Request on the basis that it is duplicative of information already sought by
 13        Plaintiff from MindGeek. Mr. Urman further objects to this Request to the
 14        extent it seeks documents currently in the exclusive control of MindGeek.”
 15
 16        Request for Production No. 21: “All documents identifying the directors,
 17        managers, members, executives, and personnel of the various subsidiaries
 18        comprising the business of MindGeek.”
 19
 20        Response to Request for Production No. 21: “In addition to the above
 21        Preliminary Statement and General Objections, Mr. Urman objects to this
 22        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 23        calculated to lead to the discovery of admissible evidence, and not proportional
 24        to the needs of the case, particularly to the needs of addressing the Court’s
 25        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 26        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the
 27        individuals or entities who are parties to this lawsuit. Mr. Urman further objects
 28        to this Request as duplicative of Request No. 6. Mr. Urman further objects to
                                              22              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23          Page 26 of 84 Page
                                    ID #:5553


  1        this Request as overbroad and unduly burdensome to the extent it asks Mr.
  2        Urman to identify the employees of all MindGeek entities for a seven-year
  3        period. Mr. Urman further objects to this Request on the basis that it is
  4        duplicative of information already sought by Plaintiff from MindGeek. Mr.
  5        Urman further objects to this Request to the extent it seeks documents currently
  6        in the exclusive control of MindGeek.”
  7
  8        Request for Production No. 22: “All documents identifying the companies
  9        organized and existing under the laws of multiple jurisdictions where
 10        MindGeek has assets, operates businesses, or provides services and the nature
 11        of the assets, businesses, or services.”
 12
 13        Response to Request for Production No. 22: “In addition to the above
 14        Preliminary Statement and General Objections, Mr. Urman objects to this
 15        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 16        calculated to lead to the discovery of admissible evidence, and not proportional
 17        to the needs of the case, particularly to the needs of addressing the Court’s
 18        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 19        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
 20        who are parties to this lawsuit. Mr. Urman further objects to this Request on
 21        the grounds that it is overbroad and unduly burdensome to the extent it seeks
 22        the production of all documents identifying the “assets, businesses, or services”
 23        of all MindGeek entities. Mr. Urman further objects to this Request on the basis
 24        that it is duplicative of information already sought by Plaintiff from MindGeek.
 25        Mr. Urman further objects to this Request to the extent it seeks documents
 26        currently in the exclusive control of MindGeek.”
 27
 28        Request No. 23: “All documents identifying the entities providing services to
                                          23                 CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23          Page 27 of 84 Page
                                    ID #:5554


  1        MG Freesites LTD.”
  2
  3        Response to Request for Production No. 23:             “In addition to the above
  4        Preliminary Statement and General Objections, Mr. Urman objects to this
  5        Request on the grounds it is overbroad, unduly burdensome, not reasonably
  6        calculated to lead to the discovery of admissible evidence, and not proportional
  7        to the needs of the case, particularly to the needs of addressing the Court’s
  8        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
  9        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects to
 10        this Request on the basis that it is duplicative of information already sought by
 11        Plaintiff from MindGeek. Mr. Urman further objects to this Request to the
 12        extent it seeks documents currently in the exclusive control of MindGeek.”
 13
 14        Request for Production No. 24: “All documents identifying the bank accounts,
 15        services, payments, written agreements, third parties providing transfer pricing
 16        studies, pricing studies and price ranges, accounting, and tax determinations.”
 17
 18        Response to Request for Production No. 24: “In addition to the above
 19        Preliminary Statement and General Objections, Mr. Urman objects to this
 20        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 21        calculated to lead to the discovery of admissible evidence, and not proportional
 22        to the needs of the case, particularly to the needs of addressing the Court’s
 23        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 24        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
 25        who are parties to this lawsuit. Mr. Urman further objects to this Request as
 26        vague and ambiguous as requesting “the bank accounts, services, payments,
 27        written agreements, third parties providing transfer pricing studies, pricing
 28        studies and price ranges, accounting, and tax determinations” of an unidentified
                                              24                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23        Page 28 of 84 Page
                                   ID #:5555


  1        person or entity. Mr. Urman further objects to this Request on the basis that it
  2        is duplicative of information already sought by Plaintiff from MindGeek. Mr.
  3        Urman further objects to this Request to the extent it seeks documents currently
  4        in the exclusive control of MindGeek.”
  5
  6        Request for Production No. 25: “All audited financial statements and all related
  7        communications with auditors regarding the same.”
  8
  9        Response to Request for Production No. 25: “In addition to the above
 10        Preliminary Statement and General Objections, Mr. Urman objects to this
 11        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 12        calculated to lead to the discovery of admissible evidence, and not proportional
 13        to the needs of the case, particularly to the needs of addressing the Court’s
 14        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 15        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects to
 16        the term “regarding the same” as vague and ambiguous. Mr. Urman further
 17        objects to this Request on the basis that it is duplicative of information already
 18        sought by Plaintiff from MindGeek. Mr. Urman further objects to this Request
 19        to the extent it seeks documents currently in the exclusive control of
 20        MindGeek.”
 21
 22        Request for Production No. 26: “All documents identifying the distinct legal
 23        entities of MindGeek and any of the MindGeek Related Entities.”
 24
 25        Response to Request for Production No. 26: “In addition to the above
 26        Preliminary Statement and General Objections, Mr. Urman objects to this
 27        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 28        calculated to lead to the discovery of admissible evidence, and not proportional
                                               25                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23          Page 29 of 84 Page
                                    ID #:5556


  1        to the needs of the case, particularly to the needs of addressing the Court’s
  2        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
  3        of the viability of Plaintiff’s alter ego arguments. Nor is the Request limited to
  4        the entities who are parties to this lawsuit. Mr. Urman further objects to this
  5        Request on the basis that it is duplicative of information already sought by
  6        Plaintiff from MindGeek. Mr. Urman further objects to this Request to the
  7        extent it seeks documents currently in the exclusive control of MindGeek.”
  8
  9        Request for Production No. 27: “All documents related to the support services
 10        MG Global Entertainment has provided.”
 11
 12        Response to Request for Production No. 27: “In addition to the above
 13        Preliminary Statement and General Objections, Mr. Urman objects to this
 14        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 15        calculated to lead to the discovery of admissible evidence, and not proportional
 16        to the needs of the case, particularly to the needs of addressing the Court’s
 17        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 18        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
 19        who are parties to this lawsuit. Mr. Urman further objects to this Request on
 20        the basis that it is duplicative of information already sought by Plaintiff from
 21        MindGeek. Mr. Urman further objects to this Request to the extent it seeks
 22        documents currently in the exclusive control of MindGeek.”
 23
 24        Request for Production No. 28: “All documents related to the services provided
 25        by 9219-1568 Quebec Inc.”
 26
 27        Response to Request for Production No. 28: “In addition to the above
 28        Preliminary Statement and General Objections, Mr. Urman objects to this
                                         26               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23          Page 30 of 84 Page
                                    ID #:5557


  1        Request on the grounds it is overbroad, unduly burdensome, not reasonably
  2        calculated to lead to the discovery of admissible evidence, and not proportional
  3        to the needs of the case, particularly to the needs of addressing the Court’s
  4        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
  5        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
  6        who are parties to this lawsuit. Mr. Urman further objects to this Request on
  7        the basis that it is duplicative of information already sought by Plaintiff from
  8        MindGeek. Mr. Urman further objects to this Request to the extent it seeks
  9        documents currently in the exclusive control of MindGeek.”
 10
 11        Request for Production No. 29: “All documents relating to MindGeek related
 12        payments, investments, or loans to, in, or for any personal affairs, expenses,
 13        entities, businesses, real estate, or investments related to You or any of the
 14        Individual Defendants, or any of their family members or entities in which
 15        either You or a family² member holds a direct or indirect interest.”
 16
 17        Response to Request for Production No. 29: “In addition to the above
 18        Preliminary Statement and General Objections, Mr. Urman objects to this
 19        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 20        calculated to lead to the discovery of admissible evidence, and not proportional
 21        to the needs of the case, particularly to the needs of addressing the Court’s
 22        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 23        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
 24        who are parties to this lawsuit. Mr. Urman further objects to this Request as
 25        duplicative of Request Nos. 2 and 3. Mr. Urman further objects that this
 26        Request seeks information more appropriately sought from other parties. Mr.
 27        Urman further objects to this Request on the basis that it is duplicative of
 28        information already sought by Plaintiff from MindGeek. Mr. Urman further
                                           27               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23          Page 31 of 84 Page
                                    ID #:5558


  1        objects to this Request to the extent it seeks documents currently in the
  2        exclusive control of MindGeek.”
  3
  4        Request for Production No. 30: “All documents related to the purported
  5        resignation of Feras Antoon and You as CEO and COO of MindGeek
  6        respectively, including, but not limited to, any documents related to any
  7        investigation, allegations, or reports of their using Mindgeek assets and monies
  8        for their personal affairs, investments, or businesses.”
  9
 10        Response to Request for Production No. 30: “In addition to the above
 11        Preliminary Statement and General Objections, Mr. Urman objects to this
 12        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 13        calculated to lead to the discovery of admissible evidence, and not proportional
 14        to the needs of the case, particularly to the needs of addressing the Court’s
 15        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 16        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
 17        who are parties to this lawsuit. Mr. Urman further objects to this Request on
 18        the grounds that it seeks material after the end of the Relevant Time Period.
 19        Mr. Urman further objects to this Request on the basis that it is duplicative of
 20        information already sought by Plaintiff from MindGeek. Mr. Urman further
 21        objects to this Request to the extent it seeks documents currently in the
 22        exclusive control of MindGeek.”
 23
 24        Request for Production No. 32: “All contact lists maintained by You or any of
 25        the Individual Defendants as well as documents sufficient to show all cell and
 26        other phone numbers and messaging services used by each individual.”
 27
 28        Response to Request for Production No. 32: “In addition to the above
                                        28              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23        Page 32 of 84 Page
                                   ID #:5559


  1        Preliminary Statement and General Objections, Mr. Urman objects to this
  2        Request on the grounds it is overbroad, unduly burdensome, not reasonably
  3        calculated to lead to the discovery of admissible evidence, and not proportional
  4        to the needs of the case, particularly to the needs of addressing the Court’s
  5        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
  6        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects
  7        that this Request seeks information more appropriately sought from other
  8        parties.
  9
 10        Subject to and without waiving any and all objections, Mr. Urman refers to and
 11        incorporates his response to Interrogatory No. 6, and agrees to meet and confer
 12        should there be remaining questions on this topic.”
 13
 14        Request for Production No. 33: “All documents or communications identifying,
 15        depicting, explaining, or describing any programs or technology MindGeek
 16        acquired, employed, used, or considered to moderate, monitor, format,
 17        optimize, filter, review, screen, or remove content on its websites, including the
 18        dates such technology was acquired, employed, or considered.
 19
 20        Response to Request for Production No. 33: “In addition to the above
 21        Preliminary Statement and General Objections, Mr. Urman objects to this
 22        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 23        calculated to lead to the discovery of admissible evidence, and not proportional
 24        to the needs of the case, particularly to the needs of addressing the Court’s
 25        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 26        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects to
 27        the extent this Request seeks information protected by the attorney-client
 28        privilege or work product doctrine. Mr. Urman further objects to this Request
                                             29              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23        Page 33 of 84 Page
                                     ID #:5560


  1         on the basis that it is duplicative of information already sought by Plaintiff from
  2         MindGeek. Mr. Urman further objects to this Request to the extent it seeks
  3         documents currently in the exclusive control of MindGeek.”
  4
  5         Request for Production No. 34: “All documents or communications related to
  6         MindGeek’s policies, manuals, practices, processes, and rules for moderating,
  7         monitoring, formatting, optimizing, filtering, reviewing, screening, or
  8         removing content on its platforms and websites, including all prohibited words,
  9         phrases, categories, and “genres” and all processes and reports concerning
 10         search engine optimization of such content.”
 11
 12         Response to Request for Production No. 34: “In addition to the above
 13         Preliminary Statement and General Objections, Mr. Urman objects to this
 14         Request on the grounds it is overbroad, unduly burdensome, not reasonably
 15         calculated to lead to the discovery of admissible evidence, and not proportional
 16         to the needs of the case, particularly to the needs of addressing the Court’s
 17         exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 18         of the viability of Plaintiff’s alter ego arguments. Mr. Urman also objects that
 19         this Request is not limited to Pornhub, the only tubesite on which Plaintiff
 20         alleges content depicting her was uploaded. Mr. Urman further objects to this
 21         Request on the grounds that it is not proportionate to the claims made in this
 22         case which are limited to allegations concerning the uploading and moderation
 23         of CSAM.      Mr. Urman further objects to the extent this Request seeks
 24         information protected by the attorney-client privilege or work product doctrine.
 25         Mr. Urman further objects to this Request on the basis that it is duplicative of
 26         information already sought by Plaintiff from MindGeek. Mr. Urman further
 27         objects to this Request to the extent it seeks documents currently in the
 28         exclusive control of MindGeek.”
                                           30              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 34 of 84 Page
                                    ID #:5561


  1        Request for Production No. 35: “All documents and communications
  2        describing MindGeek’s policies and procedures for preserving hard copy and
  3        electronic documents and content.”
  4
  5        Response to Request for Production No. 35: “In addition to the above
  6        Preliminary Statement and General Objections, Mr. Urman objects to this
  7        Request on the grounds it is overbroad, unduly burdensome, not reasonably
  8        calculated to lead to the discovery of admissible evidence, and not proportional
  9        to the needs of the case, particularly to the needs of addressing the Court’s
 10        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 11        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects to
 12        the extent this Request seeks information protected by the attorney-client
 13        privilege or work product doctrine. Mr. Urman further objects to this Request
 14        on the basis that it is duplicative of information already sought by Plaintiff from
 15        MindGeek. Mr. Urman further objects to this Request to the extent it seeks
 16        documents currently in the exclusive control of MindGeek.”
 17
 18        Request for Production No. 36: “All documents and communications reflecting
 19        rosters, schedules, training materials, performance reviews and metrics for
 20        personnel or outside contractors or vendors involved in moderating, formatting,
 21        optimization, filtering, screening, or removing content from MindGeek’s
 22        platforms and websites.”
 23
 24        Response to Request for Production No. 36: “In addition to the above
 25        Preliminary Statement and General Objections, Mr. Urman objects to this
 26        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 27        calculated to lead to the discovery of admissible evidence, and not proportional
 28        to the needs of the case, particularly to the needs of addressing the Court’s
                                             31                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23        Page 35 of 84 Page
                                   ID #:5562


  1        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
  2        of the viability of Plaintiff’s alter ego arguments. Mr. Urman also objects that
  3        this Request is not limited to Pornhub, the only tubesite on which Plaintiff
  4        alleges content depicting her was uploaded. Mr. Urman further objects to this
  5        Request as overbroad, unduly burdensome, and not proportionate to the needs
  6        of the case to the extent it seeks “performance reviews and metrics for
  7        personnel or outside contractors or vendors” for individuals who did not
  8        perform any work related to content depicting Plaintiff. Mr. Urman also objects
  9        to the term “metrics” as vague and ambiguous. Mr. Urman further objects to
 10        this Request on the basis that it is duplicative of information already sought by
 11        Plaintiff from MindGeek. Mr. Urman further objects to this Request to the
 12        extent it seeks documents currently in the exclusive control of MindGeek.”
 13
 14        Request for Production No. 37: “All documents and communications
 15        identifying all content categories, “genres,” or similar descriptors MindGeek
 16        has included, recommended, or offered to users of its platforms and websites.”
 17
 18        Response to Request for Production No. 37: “In addition to the above
 19        Preliminary Statement and General Objections, Mr. Urman objects to this
 20        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 21        calculated to lead to the discovery of admissible evidence, and not proportional
 22        to the needs of the case, particularly to the needs of addressing the Court’s
 23        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 24        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects on
 25        the grounds that the terms “‘genres’ or similar descriptors” are vague and
 26        ambiguous. Mr. Urman also objects that this Request is not limited to Pornhub,
 27        the only tubesite on which Plaintiff alleges content depicting her was uploaded.
 28        Mr. Urman further objects to this Request on the basis that it is duplicative of
                                             32               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23       Page 36 of 84 Page
                                    ID #:5563


  1         information already sought by Plaintiff from MindGeek. Mr. Urman further
  2         objects to this Request to the extent it seeks documents currently in the
  3         exclusive control of MindGeek.”
  4
  5         Request for Production No. 38: “All documents consisting of, or reflecting,
  6         reports, communications, data, or actions related to content reviewed or
  7         screened by any technology, programs, or internal or external personnel
  8         concerning actual or suspected CSAM, nonconsensual, prohibited, or illegal
  9         content.”
 10
 11         Response to Request for Production No. 38: “In addition to the above
 12         Preliminary Statement and General Objections, Mr. Urman objects to this
 13         Request on the grounds it is overbroad, unduly burdensome, not reasonably
 14         calculated to lead to the discovery of admissible evidence, and not proportional
 15         to the needs of the case, particularly to the needs of addressing the Court’s
 16         exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 17         of the viability of Plaintiff’s alter ego arguments. Mr. Urman also objects on
 18         the grounds that the terms “actions” and “external personnel” are vague and
 19         ambiguous. Mr. Urman further objects to this Request as overbroad and unduly
 20         burdensome to the extent it seeks documents concerning any content other than
 21         content depicting Plaintiff. Mr. Urman also objects that this Request is not
 22         limited to Pornhub, the only tubesite on which Plaintiff alleges content
 23         depicting her was uploaded. Mr. Urman further objects to the extent this
 24         Request seeks information protected by the attorney-client privilege or work
 25         product doctrine. Mr. Urman further objects to this Request on the basis that it
 26         is duplicative of information already sought by Plaintiff from MindGeek. Mr.
 27         Urman further objects to this Request to the extent it seeks documents currently
 28         in the exclusive control of MindGeek.”
                                             33            CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23        Page 37 of 84 Page
                                   ID #:5564


  1        Request for Production No. 39: “All documents concerning complaints,
  2        reports, communications, and requests concerning, non-consensual, prohibited,
  3        or illegal content on any MindGeek platform or website,             including all
  4        documents and communications with or concerning any associated
  5        investigation, actions, and internal and external communications concerning
  6        the same.”
  7
  8        Response to Request for Production No. 39: “In addition to the above
  9        Preliminary Statement and General Objections, Mr. Urman objects to this
 10        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 11        calculated to lead to the discovery of admissible evidence, and not proportional
 12        to the needs of the case, particularly to the needs of addressing the Court’s
 13        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 14        of the viability of Plaintiff’s alter ego arguments. Mr. Urman also objects on
 15        the grounds that the term “actions” is vague and ambiguous. Mr. Urman further
 16        objects to this Request as overbroad and unduly burdensome to the extent it
 17        seeks documents concerning any content other than content depicting Plaintiff.
 18        Mr. Urman also objects that this Request is not limited to Pornhub, the only
 19        tubesite on which Plaintiff alleges content depicting her was uploaded.
 20        Mr. Urman further objects to the extent this Request seeks information
 21        protected by the attorney-client privilege or work product doctrine. Mr. Urman
 22        further objects to this Request on the basis that it is duplicative of information
 23        already sought by Plaintiff from MindGeek. Mr. Urman further objects to this
 24        Request to the extent it seeks documents currently in the exclusive control of
 25        MindGeek.”
 26
 27        Request for Production No. 40: “All documents and communications reflecting
 28        processes, standards, and technologies that MindGeek employed to prevent the
                                             34               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 38 of 84 Page
                                    ID #:5565


  1         presence of child pornography, CSAM, non-consensual, prohibited, or illegal
  2         content on its platforms or websites; the dates on which such processes,
  3         standards, and technologies were employed; and the people most
  4         knowledgeable about each.”
  5
  6         Response to Request for Production No. 40: “In addition to the above
  7         Preliminary Statement and General Objections, Mr. Urman objects to this
  8         Request on the grounds it is overbroad, unduly burdensome, not reasonably
  9         calculated to lead to the discovery of admissible evidence, and not proportional
 10         to the needs of the case, particularly to the needs of addressing the Court’s
 11         exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 12         of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects to
 13         this Request as overbroad and unduly burdensome to the extent it seeks
 14         documents concerning any content other than content depicting Plaintiff. Mr.
 15         Urman also objects that this Request is not limited to Pornhub, the only tubesite
 16         on which Plaintiff alleges content depicting her was uploaded. Mr. Urman
 17         further objects to the extent this Request seeks information protected by the
 18         attorney-client privilege or work product doctrine. Mr. Urman further objects
 19         to this Request on the basis that it is duplicative of information already sought
 20         by Plaintiff from MindGeek. Mr. Urman further objects to this Request to the
 21         extent it seeks documents currently in the exclusive control of MindGeek.”
 22
 23         Request for Production No. 41: “All documents and communications reflecting
 24         policies, practices, rules, guidelines, programs, or plans concerning the
 25         moderation, monitoring, review, formatting, analysis or search and social
 26         media use and optimization of content on MindGeek platforms and websites,
 27         including, but not limited to, with respect to content uploaded with associated
 28         languages other than English.”
                                           35              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23        Page 39 of 84 Page
                                   ID #:5566


  1        Response to Request for Production No. 41: “In addition to the above
  2        Preliminary Statement and General Objections, Mr. Urman objects to this
  3        Request on the grounds it is overbroad, unduly burdensome, not reasonably
  4        calculated to lead to the discovery of admissible evidence, and not proportional
  5        to the needs of the case, particularly to the needs of addressing the Court’s
  6        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
  7        of the viability of Plaintiff’s alter ego arguments. Mr. Urman also objects to
  8        the extent this Request seeks documents related to “content uploaded with
  9        associated languages other than English,” as overbroad because Plaintiff does
 10        not allege her content was uploaded with “associated languages.” Mr. Urman
 11        further objects to this Request as overbroad and unduly burdensome to the
 12        extent it seeks documents concerning any content other than content depicting
 13        Plaintiff. Mr. Urman also objects that this Request is not limited to Pornhub,
 14        the only tubesite on which Plaintiff alleges content depicting her was uploaded.
 15        Mr. Urman further objects to the extent this Request seeks information
 16        protected by the attorney-client privilege or work product doctrine. Mr. Urman
 17        further objects to this Request on the basis that it is duplicative of information
 18        already sought by Plaintiff from MindGeek. Mr. Urman further objects to this
 19        Request to the extent it seeks documents currently in the exclusive control of
 20        MindGeek.”
 21
 22        Request for Production No. 42: “All documents and communications
 23        concerning MindGeek’s policies, practices, and compliance related to 18
 24        U.S.C. § 2257.”
 25
 26        Response to Request for Production No. 42: “In addition to the above
 27        Preliminary Statement and General Objections, Mr. Urman objects to this
 28        Request on the grounds it is overbroad, unduly burdensome, not reasonably
                                           36               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23        Page 40 of 84 Page
                                   ID #:5567


  1        calculated to lead to the discovery of admissible evidence, and not proportional
  2        to the needs of the case, particularly to the needs of addressing the Court’s
  3        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
  4        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects
  5        that this Request is not limited to Pornhub, the only tubesite on which Plaintiff
  6        alleges content depicting her was uploaded. Mr. Urman further objects to the
  7        extent this Request seeks information protected by the attorney-client privilege
  8        or work product doctrine. Mr. Urman further objects to this Request on the
  9        basis that it is duplicative of information already sought by Plaintiff from
 10        MindGeek. Mr. Urman further objects to this Request to the extent it seeks
 11        documents currently in the exclusive control of MindGeek.”
 12
 13        Request for Production No. 46: “Any internal or external expert or consultant
 14        reports provided to MindGeek concerning its technology, processes, policies,
 15        and practices concerning CSAM, nonconsensual, prohibited, or illegal
 16        content.”
 17
 18        Response to Request for Production No. 46: “In addition to the above
 19        Preliminary Statement and General Objections, Mr. Urman objects to this
 20        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 21        calculated to lead to the discovery of admissible evidence, and not proportional
 22        to the needs of the case, particularly to the needs of addressing the Court’s
 23        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 24        of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects
 25        that this Request is not limited to Pornhub, the only tubesite on which Plaintiff
 26        alleges content depicting her was uploaded. Mr. Urman further objects to the
 27        extent this Request seeks information protected by the attorney-client privilege
 28        or work product doctrine. Mr. Urman further objects to this Request on the
                                          37               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 41 of 84 Page
                                    ID #:5568


  1         basis that it is duplicative of information already sought by Plaintiff from
  2         MindGeek. Mr. Urman further objects to this Request to the extent it seeks
  3         documents currently in the exclusive control of MindGeek.”
  4
  5         Request for Production No. 49: “All documents or communications concerning
  6         any internal or external review of MindGeek content for CSAM, non-
  7         consensual, prohibited, or illegal content, including, but not limited to, the
  8         review undertaken beginning in or about the end of 2020 and the beginning of
  9         2021 and the review that led to the report to NCMEC that was described in the
 10         June 20, 2022 New Yorker magazine.”
 11
 12         Response to Request for Production No. 49: “In addition to the above
 13         Preliminary Statement and General Objections, Mr. Urman objects to this
 14         Request on the grounds it is overbroad, unduly burdensome, not reasonably
 15         calculated to lead to the discovery of admissible evidence, and not proportional
 16         to the needs of the case, particularly to the needs of addressing the Court’s
 17         exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 18         of the viability of Plaintiff’s alter ego arguments. Mr. Urman further objects
 19         that this Request is not limited to Pornhub, the only tubesite on which Plaintiff
 20         alleges content depicting her was uploaded. Mr. Urman also objects to this
 21         Request as overbroad and unduly burdensome to the extent it seeks documents
 22         concerning any content other than content depicting Plaintiff. Mr. Urman
 23         further objects to the extent this Request seeks information protected by the
 24         attorney-client privilege or work product doctrine. Mr. Urman further objects
 25         to this Request on the basis that it is duplicative of information already sought
 26         by Plaintiff from MindGeek. Mr. Urman further objects to this Request to the
 27         extent it seeks documents currently in the exclusive control of MindGeek.”
 28
                                           38              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23          Page 42 of 84 Page
                                    ID #:5569


  1        Request for Production No. 52: “All documents concerning communications
  2        with the media, news organizations, journalists, legislators, law enforcement,
  3        regulators, quasi-governmental agencies, media relations companies, the Free
  4        Speech Coalition, 5wPR, or on social media platforms either directly, through
  5        aliases, or through agents, surrogates, or other social media participants
  6        concerning CSAM, non-consensual, prohibited, or illegal content on
  7        MindGeek’s platforms or websites or internal or external news, media or other
  8        reports, allegations, or complaints regarding the same.”
  9
 10        Response to Request for Production No. 52: “In addition to the above
 11        Preliminary Statement and General Objections, Mr. Urman objects to this
 12        Request on the grounds it is overbroad, unduly burdensome, not reasonably
 13        calculated to lead to the discovery of admissible evidence, and not proportional
 14        to the needs of the case, particularly to the needs of addressing the Court’s
 15        exercise of personal jurisdiction over Mr. Urman or to the Court’s assessment
 16        of the viability of Plaintiff’s alter ego arguments. Nor is it limited to the entities
 17        who are parties to this lawsuit. Mr. Urman also objects that this Request is not
 18        limited to Pornhub, the only tubesite on which Plaintiff alleges content
 19        depicting her was uploaded. Mr. Urman further objects to this Request on the
 20        basis that it is duplicative of information already sought by Plaintiff from
 21        MindGeek. Mr. Urman further objects to this Request to the extent it seeks
 22        documents currently in the exclusive control of MindGeek.”
 23
 24        B.     Interrogatories in Dispute
 25        Interrogatory No. 2: “Describe in detail each transaction during the Relevant
 26        Time Period in which ownership, shares, indebtedness, secured interests,
 27        options, derivatives, or other capital related transactions occurred involving a
 28        MindGeek Related Entity, and identify the direct and indirect participants in
                                          39                 CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS        Document 267 Filed 02/08/23     Page 43 of 84 Page
                                      ID #:5570


  1        those transactions.”
  2
  3        Response to Interrogatory No. 2: “In addition to the above Preliminary
  4        Statement and General Objections, Mr. Urman objects to the undefined terms
  5        and phrases “detail,” “transaction(s),” “ownership,” “equity,” “shareholding,”
  6        “secured interest,” “indebtedness,” “option,” “derivative,” and “trust” on the
  7        grounds they are vague, ambiguous, and overbroad. Mr. Urman further objects
  8        to this Interrogatory to the extent that it (i) seeks privileged information and
  9        communications; (ii) is compound; and (iii) seeks information unrelated to or
 10        outside the scope of the “jurisdictional discovery” permitted from Mr. Urman
 11        by the Court’s Order dated July 29, 2022 (Dkt. 167). Subject to and without
 12        waiving the above Specific and General Objections, Mr. Urman responds that
 13        he has a recollection that at some time during the Relevant Time Period, one of
 14        the MindGeek Defendants completed a refinancing, but Mr. Urman cannot
 15        specify which one. Other than this recollection, Mr. Urman further responds
 16        that he lacks sufficient knowledge of information responsive to this
 17        Interrogatory and does not have possession, custody, or control of documents
 18        responsive to this Interrogatory.”
 19
 20        Supplemental Response to Interrogatory No. 2: Subject to and without waiving
 21        the above Specific and General Objections, in addition to the response above,
 22        Mr. Urman responds that, other than the compensation and dividends he
 23        received from 9219, he did not participate financially in any capital-related
 24        transactions involving MindGeek or any of the Individual Defendants.
 25
 26        Interrogatory No. 3: “Identify the date, participants, and content for every
 27        presentation or communication of financial or other economic performance to
 28        investors, lenders, or others with direct or indirect financial interests in any
                                             40                 CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23       Page 44 of 84 Page
                                     ID #:5571


  1         MindGeek Related Entity.”
  2
  3         Response to Interrogatory No. 3: “In addition to the above Preliminary
  4         Statement and General Objections, Mr. Urman objects to the undefined terms
  5         and phrases “content,” “presentation,” “financial or other economic
  6         performance,” and “direct or indirect financial interests” on the grounds they
  7         are vague, ambiguous, and overbroad. Mr. Urman further objects to this
  8         Interrogatory to the extent that it (i) seeks privileged information and
  9         communications; (ii) is compound; and (iii) seeks information unrelated to or
 10         outside the scope of the “jurisdictional discovery” permitted from Mr. Urman
 11         by the Court’s Order dated July 29, 2022 (Dkt. 167). Subject to and without
 12         waiving the above Specific and General Objections, Mr. Urman responds that
 13         he recalls some meetings where there was a discussion and/or review of
 14         financial performance during the Relevant Time Period. Other than this
 15         recollection, Mr. Urman further responds that he lacks sufficient knowledge of
 16         information responsive to this Interrogatory and does not have possession,
 17         custody, or control of documents responsive to this Interrogatory.
 18
 19         Interrogatory No. 4: “Describe in detail all direct or indirect jurisdictional
 20         contacts within the relevant jurisdictions, i.e. the United States and California,
 21         that You or Your agents, or any of the MindGeek Related Entities and their
 22         owners, executives, and employees, have or had during the Relevant Time
 23         Period, including but not limited to, offices, residences, and real estate located
 24         in the relevant jurisdictions; personnel or vendors employed, retained, or paid
 25         located in the relevant jurisdictions; trips to the relevant jurisdictions; and
 26         revenues, profits, expenses, taxes earned or paid in or from the relevant
 27         jurisdictions; and communications or business relationships with, to, or in
 28         either of the relevant jurisdictions.”
                                                 41        CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23         Page 45 of 84 Page
                                     ID #:5572


  1         Response to Interrogatory No. 4: “In addition to the above Preliminary
  2         Statement and General Objections, Mr. Urman objects to the undefined terms
  3         and phrases “detail,” “jurisdictional contacts,” “offices,” “residences,” “real
  4         estate,” “personnel,” “vendors,” “revenues,” “profits,” “expenses,” and “taxes”
  5         on the grounds they are vague, ambiguous, and overbroad. Mr. Urman further
  6         objects to this Interrogatory to the extent that it (i) seeks privileged information
  7         and communications; and (ii) is compound. Subject to and without waiving the
  8         above Specific and General Objections, Mr. Urman responds that he took
  9         approximately between 3 to 12 trips a year to the United States related to
 10         MindGeek business during the Relevant Time Period. None of these trips
 11         related to Plaintiff or the claims in this action.”
 12
 13         Interrogatory No. 6: “Identify all social media accounts, email accounts, cell
 14         numbers, text, or other communications services or applications used by the
 15         Individual Defendants directly or through any MindGeek Related Entity during
 16         the Relevant Time Period.”
 17
 18         Response to Interrogatory No. 6: “In addition to the Preliminary Statement and
 19         General Objections set forth above, Mr. Urman objects to the undefined phrase
 20         “other communications services or applications” on the grounds it is vague,
 21         ambiguous, and overbroad. Mr. Urman further objects to this Interrogatory to
 22         the extent that it (i) is overly broad and seeks information not relevant to the
 23         subject matter of the instant action; (ii) seeks privileged information and
 24         communications; (iii) is compound; and (iv) seeks information unrelated to or
 25         outside the scope of the “jurisdictional discovery” permitted from Mr. Urman
 26         by the Court’s Order dated July 29, 2022 (Dkt. 167). Subject to and without
 27         waiving these Specific and General Objections, Mr. Urman responds that
 28         during the Relevant Time Period,
                                           42              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS   Document 267 Filed 02/08/23   Page 46 of 84 Page
                                 ID #:5573
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23       Page 47 of 84 Page
                                    ID #:5574


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 11              
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 13
 14 III.    PLAINTIFF’S POSITION
 15         A.       Plaintiff’s Motion To Compel
 16         Pursuant to the Court’s July 29, 2022 Order, Plaintiff served Urman with her
 17 First Set of Interrogatories on August 17, 2022 and her First Requests for Production
 18 of Documents on September 20, 2022. See Doyle Decl., Exhibits 1 and 2. On October
 19 17, 2022 and October 20, 2022, Urman served objections and responses to Plaintiff’s
 20 ROGs and RFPs, respectively, see Doyle Decl., Exhibits 4 and 5. On December 19,
 21 2022, Urman served a supplemental response to Plaintiff’s ROG No. 6, providing an
 22 additional email address used in connection with conducting business on behalf of
 23 MindGeek. See Doyle Decl., Exhibit 7. Urman failed to respond substantively.4
 24
 25   Urman initially responded to Plaintiff’s ROGs on September 22, 2022, but that
      4


    response was heavily redacted because a protective order had not yet been entered in
 26 the case. See Exhibit 3. Plaintiff therefore did not receive Urman’s actual responses
 27 to Plaintiff’s ROGs until Urman provided an unredacted interrogatory response on
    October 17, 2022, with responses designated as “Confidential” pursuant to the
 28
    protective order. Plaintiff has filed Urman’s response in an unredacted form under
                                              44                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23      Page 48 of 84 Page
                                    ID #:5575


  1         Throughout the entire time period in which Plaintiff’s CSAM was uploaded,
  2 optimized, disseminated, and capitalized on by the defendants, Urman was serving in
  3 various executive roles within the MindGeek enterprise, including service as a Vice
  4 President for the entity purportedly responsible for content management services. (See
  5 Doyle Decl., Exhibit 8).
  6
  7
  8                                    . See Doyle Decl., Exhibit 4 at 8, Urman Resp. to
  9 ROG No. 1; see also Dkt. 139-1 (“MindGeek does not challenge the court’s
 10 jurisdiction over . . . 9219 which acts as a service provider to Freesites.”). Despite
 11 this, and his own admission that he made numerous trips each year to the United States
 12 for MindGeek related business, see Doyle Decl., Exhibit 4 at 10, Urman Resp. to ROG
 13 No. 4, Urman has refused to conduct reasonable searches for, or to produce, relevant
 14 communications, information, and documents pertaining to the various roles he
 15 played within the MindGeek enterprise and that are relevant to evaluating jurisdiction.
 16 See Doyle Decl. at 3, ¶ 10.
 17               1.     Urman Cannot Avoid Discovery Just Because the MindGeek
 18                      Entity Defendants May Provide Discovery
 19         Urman objects to almost every Request on the grounds that the information
 20 sought is “duplicative of information already sought by Plaintiff from the MindGeek
 21 Corporate Defendants” or more easily obtained from another party. See Doyle Decl.
 22 Exh. 5, Def. Urman’s Responses to RFP Nos. 1-3, 5-10, 13-17, 19-54. But this Court
 23 previously held that parties are not relieved of producing responsive documents
 24 because other defendants may produce them. Dkt. 211, at 3-4 (rejecting the argument
 25 that a non-party was relieved of its duty to produce documents that MindGeek might
 26
    seal, pursuant to the Stipulated Protective Order, Dkt. 187. Urman’s response to
 27
    Plaintiff’s production requests contained no such designation and is filed in its
 28 original form.
                                            45               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23        Page 49 of 84 Page
                                     ID #:5576


  1 possess but has not produced); see also Anson v. Weinstein, No. CV 17-8360-GW
  2 (KSX), 2019 WL 6655259, at *4 (C.D. Cal. Aug. 26, 2019) (a party “is not absolved
  3 of [his or her] own obligation to produce the responsive materials regardless of
  4 whether other parties may also produce similar or even identical documents.”) The
  5 Court should similarly reject Urman’s objection.
  6                2.     Urman Refuses to Produce Documents and Communications
  7                       Concerning Plaintiff
  8         RFP No. 1 seeks production of all documents and communications concerning
  9 Plaintiff that are in Urman’s possession, custody, or control. Urman sidesteps this
 10 request by recharacterizing it as seeking only his communications with Plaintiff (and
 11 none apparently exists), claiming that his communications concerning Plaintiff are
 12 not relevant to this Court’s jurisdictional analysis.
 13         Documents and communications concerning Plaintiff, who is based in
 14 California, will reveal the extent to which Urman communicated about Plaintiff,
 15 directed actions to be taken with respect to Plaintiff’s videos, and played a role in
 16 optimizing and monetizing Plaintiff’s CSAM. The role that Urman played in the
 17 solicitation, optimization, dissemination, and capitalization of Plaintiff’s CSAM is
 18 highly relevant to this Court’s jurisdictional analysis. See Allstar Mktg. Grp., LLC v.
 19 Your Store Online, LLC, 666 F. Supp. 2d 1109, 1120 (C.D. Cal. 2009) (“Courts have
 20 . . . found a corporate officer’s contacts on behalf of a corporation sufficient to subject
 21 the officer to personal jurisdiction where the officer is a primary participant in the
 22 alleged wrongdoing or had control of, and direct participation in the alleged
 23 activities.”) (citing cases). Thus, Urman’s communications about this California-
 24 based Plaintiff, the monetization of Plaintiff’s CSAM, and her efforts to have that
 25 content removed is relevant to the exercise of jurisdiction over Urman, particularly
 26 here, where Urman served as an executive in the very company purportedly
 27 responsible for content management. Urman should be ordered to produce all
 28 communications and documents concerning Plaintiff.
                                        46                 CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 50 of 84 Page
                                    ID #:5577


  1               3.     Urman Disregards this Court’s Rulings Concerning the
  2                      Permissible Scope of Jurisdictional Discovery
  3         Urman recites the same boilerplate objections to several of Plaintiff’s discovery
  4 requests. One of those objections is that the requests are “not proportional to the needs
  5 of the case, particularly to the needs of addressing the Court’s exercise of personal
  6 jurisdiction over Mr. Urman.” But Urman is simply ignoring this Court’s clear
  7 direction concerning the permissible scope of jurisdictional discovery.
  8         This Court concluded that “Plaintiff has alleged facts bearing on the MindGeek
  9 Individual Defendants direction of specific policies pursuant to which Plaintiff was
 10 harmed.” (Dkt. 167, at 7; see also id. at 5 (“[T]here are various allegations throughout
 11 the FAC that identify specific MindGeek policies or practices—which were applied
 12 to Plaintiff and her videos—that the MindGeek Individual Defendants allegedly
 13 directed or implemented.”).)      The Court further explained that “[i]t is entirely
 14 plausible that at least one of the MindGeek Individual Defendants—high up as they
 15 were in the MindGeek hierarchy—had substantial involvement in the practices and
 16 policies of one of MindGeek’s major lines of business that harmed Plaintiff.” (Id. at
 17 7.) For example, the Court declared that “operating Pornhub and other MindGeek
 18 sites in a manner that maximizes the profitability of child porn” would qualify as
 19 “[j]urisdictionally relevant conduct.” (Dkt. 167, at 3 n.2; see also id. at 5 n.5
 20 (recognizing that it would be jurisdictionally relevant if “one or all of the MindGeek
 21 Individual Defendants promulgated a policy of reuploading child porn like Plaintiff’s
 22 videos, to MindGeek’s websites after taking them down”)).
 23         Plaintiff therefore propounded several requests seeking documents that would
 24 reveal Urman’s role in setting policies concerning the uploading and monetization of
 25 CSAM on Pornhub and other MindGeek sites. Plaintiff’s RFP Nos. 5, 38-42, 46, 49,
 26 and 52 seek documents and communications between Defendant Urman, others, and
 27 any Defendant “related to the presence of any CSAM” on MindGeek sites, the
 28 reporting of CSAM, and MindGeek’s policies when CSAM is identified. Request
                                       47              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23       Page 51 of 84 Page
                                    ID #:5578


  1 Nos. 10, 33-42 concern MindGeek’s practices, policies, procedures, and technologies
  2 used for monitoring, moderating, and removing material from its websites. Finally,
  3 Request No. 30 seeks documents and communications concerning the putative
  4 resignation of Tassillo and his co-defendant, former MindGeek CEO Feras Antoon,
  5 both of whom spent more than a decade in leadership positions with MindGeek,
  6 resigned amid public scrutiny concerning allegations that the MindGeek Entities, and
  7 their officers, directors, and employees, intentionally commercialized and monetized
  8 illegal CSAM and stonewalled efforts to have the content removed, including in the
  9 case of Plaintiff.
 10         These Requests collectively seek, among other things, information related to
 11 Urman’s personal involvement in the adoption of policies and procedures concerning
 12 the handling of CSAM, and Urman’s role in controlling and directing the various
 13 MindGeek entities’ operations, particularly as it concerns search engine optimization
 14 (SEO) and CSAM, all of which the Court has held is relevant to its jurisdictional
 15 analysis. (Dkt. 167, at 7). Documents responsive to the requests would also reveal
 16 Urman’s knowledge and awareness of the prevalence and intentional proliferation of
 17 CSAM on MindGeek’s tubesites, as well as the role that Urman played in the
 18 implementation of the policies that allowed for the proliferation of CSAM on
 19 MindGeek’s tubesites, all of which are relevant jurisdictional considerations. Urman
 20 has refused to produce any documents in response to these requests.
 21         Along similar lines, the Court was clear that “[w]here the money flows in the
 22 MindGeek web, which may relate to ownership of the porn sites that generate revenue,
 23 matters to the Court’s jurisdictional analysis.” 5 (Dkt. 167, at 3 n.2). The Court also
 24
 25   The Court, in recognition of Plaintiff’s allegations that her videos were pushed to
      5


    MindGeek’s other tubesites consistent with MindGeek’s pervasive practice,
 26 recognized that “[j]urisdictionally relevant conduct” was not limited to Pornhub but
 27 included operation of MindGeek’s other sites as well in a manner that maximized the
    profitability of child porn. (Dkt. 167, at 3 n.2; see also id. at 5 n.5). Therefore,
 28
    Urman’s repeated effort to limit the scope of his responses to Pornhub should be
                                              48                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23        Page 52 of 84 Page
                                     ID #:5579


  1 recognized that Plaintiff alleged that “the MindGeek Entity Defendants are each
  2 controlled by the MindGeek Individual Defendants, that the MindGeek Individual
  3 Defendants appoint sham directors to the entities which they control in order to
  4 impede investigations, and that the MindGeek Entity Defendants divert money,
  5 possibility to the MindGeek Individual Defendants” (id. at 6 and that “[t]his alleged
  6 flow of money is . . . jurisdictionally relevant” (id. at 6 n.6).
  7         In accordance with this guidance, Plaintiff propounded specific requests
  8 concerning the relationship and purpose of the various MindGeek entities, and their
  9 corporate structure and ownership, as well as Urman’s ownership interests in those
 10 entities and his receipt of funds from those entities. See, e.g., RFP Request No. 8
 11 (seeking documents related to Defendant Urman’s beneficial ownership of or
 12 economic interest in any MindGeek Related Entity or MindGeek intellectual
 13 property); RFP Request No. 15 (seeking documents related to any transactions
 14 involving the ownership loans to, secured interest in, or intellectual property or other
 15 rights related to MindGeek); RFP Request No. 29 (seeking documents concerning
 16 payments, investments, or loans to or from any MindGeek Entity or the Individual
 17 Defendants); ROG No. 2 (seeking information on ownership, shares, and capital
 18 transactions); RFP Request No. 2 (seeking documents and communications
 19 concerning Urman’s affiliation with any MindGeek Related Entity); RFP Request No.
 20 3 (seeking documents and communications concerning income, revenue, or other
 21 monies that Urman received from any MindGeek Related Entity) see also RFP
 22 Request No. 7 (seeking documents concerning business relationships with various
 23 entities, such as Colbeck Capital, JP Morgan Chase, Fortress Investment Group); RFP
 24 Request No. 13 (seeking documents concerning MindGeek entity and tubesite
 25 profits); RFP Request No. 14 and ROG No. 3 (seeking documents concerning or
 26
    rejected. (Dkt. 211, at 5 (agreeing with Plaintiff that requests regarding “the [true]
 27
    ownership of porn sites that generated revenue from Plaintiff’s child sexual abuse
 28 material” is relevant to the Court’s jurisdictional analysis) (emphasis added)).
                                               49                 CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23        Page 53 of 84 Page
                                     ID #:5580


  1 provided to investors in any MindGeek Related Entity); RFP Request No. 16 (seeking,
  2 among other things, financials, ledgers, and shareholder lists); RFP Request No. 17
  3 (seeking among other things, tax filings, audits, financials, and accounting reports);
  4 RFP Request No. 18 (seeking “Your monthly, quarterly, and annual bank and
  5 investment statements”); RFP Request No. 19 (seeking documents related to any
  6 corporate reorganization by MindGeek); Request No. 20 (seeking documents
  7 identifying MindGeek subsidiaries); RFP No. 21 (seeking documents identifying
  8 directors, managers, members, executives, and personnel of MindGeek subsidiaries);
  9 RFP Request No. 24 (seeking information on, among other things, MindGeek bank
 10 accounts); RFP Request No. 25 (seeking audited financial statements and
 11 communications with auditors); RFP Request Nos. 6, 9, 22-23, 26-28 (seeking
 12 documents relating to the organization and corporate structure of MindGeek). This
 13 Court previously found these categories of documents relevant, so Urman should be
 14 ordered to produce them promptly. (Dkt. 211, at 5).
 15         Urman also attempts to limit his responses to just the MindGeek Entity
 16 Defendants, rather than the MindGeek Entities as Plaintiff defined them in the
 17 requests. The Court already rejected this limitation. (Dkt. 211, at 6).
 18
 19                4.     Urman Refuses to Produce Documents and Sufficient
 20                       Information Relative to His Jurisdictional Contacts
 21         Urman also objects to several Requests that seek information concerning his
 22 connections and activities with California and other jurisdictions in the United States.
 23 See RFP No. 11 and ROG No. 4 (seeking documents and communications related to
 24 Urman’s “jurisdictional contacts with the United States or California”); RFP No. 12
 25 (seeking documents and communications related to, among other things “political
 26 activities in California or any jurisdiction in the United States,” “trips to California or
 27 any jurisdiction in the United States, profits, expenses, and taxes paid in or earned
 28 from California or any other United States jurisdiction, and communications or
                                         50                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23       Page 54 of 84 Page
                                     ID #:5581


  1 business relationships with, to, from, or in California or any other United States
  2 jurisdiction). Each of these requests seeks information that is relevant to the Court’s
  3 jurisdictional analysis. Nevertheless, Urman has refused to search for a single
  4 document in response to these requests.
  5         Similarly, Urman’s response to Interrogatory No. 4 is also deficient. Urman
  6 disregards nearly the entirety of the question, objecting to common terms such as
  7 “residence” and “office” because they are undefined. In his sole answer to the
  8 interrogatory, he admits to taking numerous trips each year to the United States for
  9 MindGeek business, but provides no explanation concerning those contacts. Urman
 10 should be ordered to answer the entirety of the request and to provide more detail as
 11 to the more than 50 trips he admits to taking to the United States over the last decade.
 12 For each trip, Urman should be ordered to identify: (i) the dates of the trip, (ii) the
 13 locations visited, and (iii) the purpose of the visit. Urman should also be ordered to
 14 provide adequate detail as to any properties owned through the various entities as
 15 requested in response to Interrogatory No. 4. For each property that he owns or
 16 partially owns, directly or indirectly, Urman should identify: (i) the address of each
 17 property, (ii) the date purchased, (iii) the purchase price, (iv) Urman’s ownership
 18 percentage, and (v) the date sold (if applicable). Finally, Urman should be ordered to
 19 provide his tax returns and the tax returns for the various entities listed in response to
 20 Interrogatory No. 4. See A. Farber & Partners, 234 F.R.D. at 191 (ordering defendant
 21 to produce tax records).
 22         Urman also refuses to produce communications with other defendants (RFP
 23 Request No. 4), even though his relationship with, and control over, entities and
 24 individuals domiciled or doing business in the state of California are relevant to both
 25 the Court’s jurisdictional and alter-ego analyses. See also RFP Request No. 2
 26 (seeking documents and communications concerning Defendant’s affiliation with any
 27 MindGeek Related Entity, including those based in California or other United States
 28 jurisdictions); RFP Request No. 3 (seeking documents and communications
                                      51             CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23      Page 55 of 84 Page
                                     ID #:5582


  1 concerning income, revenue, or other monies that Defendant received from any
  2 MindGeek Related Entity, including those based in California or other United States
  3 jurisdictions).
  4         Similarly, in response to Request No. 32 and Interrogatory No. 6, Urman
  5 refused to identify or produce contact lists or communication accounts and failed to
  6 identify the usernames and/or related contact information associated with his
  7 WhatsApp, Telegram, and Signal accounts, though he admits to using these platforms.
  8 The identity and locations of the individuals that Urman communicated and worked
  9 with in furtherance of the MindGeek’s illegal trafficking venture and their efforts to
 10 conceal and coverup their wrongdoing is highly relevant. See Dkt. 168 at 7 (“It is
 11 entirely plausible that at least one of the MindGeek Individual Defendants . . . had
 12 substantial involvement in the practices and policies of one of MindGeek’s major
 13 lines of business that harmed Plaintiff.”).
 14               5.     Urman’s Privacy and Data Protection Objection is Without
 15                      Merit
 16         Urman’s refusal to disclose information that could violate a law, rule, or
 17 regulation, for instance because it could require disclosure of information protected
 18 by applicable privacy or data protection laws (RFP General Objection 2 and
 19 Interrogatory General Objection 3), is improper. “The mere existence of a blocking
 20 statute does not preclude an American court from ordering discovery from a foreign
 21 litigant.” Connex R.R. LLC v. AXA Corp. Sols. Assurance, No.: CV 16–02368–ODW
 22 (RAOx), 2017 WL 3433542, at *5 (C.D. Cal. Feb. 22, 2017). “Indeed, the Supreme
 23 Court has held that ‘[i]t is well settled that such statutes do not deprive an American
 24 court of the power to order a party subject to its jurisdiction to produce evidence even
 25 though the act of production may violate that statute.’” Id. (quoting Société Nationale
 26 v. U.S. Dist. Court for the S. Dist. of Iowa, 482 U.S. 522, 524, 544 n.29 (1987)).
 27 Currently, it is impossible for Plaintiff to assess the propriety of Urman’s failure to
 28 disclose information without more specific information. Thus, if Urman refuses to
                                          52                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23       Page 56 of 84 Page
                                    ID #:5583


  1 provide documents in full, or redacts documents on the purported basis that he must
  2 do so in compliance with a law, rule, or regulation, Urman should be ordered to submit
  3 a log of the withheld information, so Plaintiff can properly assess Urman’s claims.
  4               6.     Urman Has Refused to Conduct a Search for Responsive
  5                      Documents
  6         It is black-letter law that, “[u]pon receipt of a properly served request, a
  7 responding party is required to conduct a ‘reasonable search’ for responsive
  8 documents.” Trujillo v. Princess Cruise Lines, Ltd., No. CV 20-7451 JWH (PVCx),
  9 2021 WL 3604518, at *6 (C.D. Cal. Apr. 23, 2021) (emphasis added); Polaris
 10 Innovations Ltd. v. Kingstown Tech. Co., No. CV 16-00300 CJC (RAOx), 2017 WL
 11 3275615, at *2 (C.D. Cal. Feb. 14, 2017); see also A. Farber & Partners, Inc. v.
 12 Garber, 234 F.R.D. 186, 189 (C.D. Cal. 2006) (“[A] party has an obligation to
 13 conduct a reasonable inquiry into the factual basis of his responses to discovery, and,
 14 based on that inquiry, [a] party responding to a Rule 34 production request ... is under
 15 an affirmative duty to seek that information reasonably available to [it] from [its]
 16 employees, agents, or others subject to [its] control.” (citations and quotations
 17 omitted)).
 18         Consistent with this fundamental principle, Rule 34 explicitly requires a
 19 responding party to “state whether any responsive materials are being withheld on the
 20 basis of [an asserted] objection.” Fed. R. Civ. P. 34(b)(2)(C). None of Urman’s
 21 responses to Plaintiff’s document requests contains the statement required by Rule
 22 34(b)(2)(C). During the parties’ meet-and-confer teleconference on December 15,
 23 2022, Urman’s counsel, collectively with the other Individual Defendants’ counsel,
 24 confirmed that Urman had not conducted a search for documents, instead claiming he
 25 was waiting for this Court to provide clarity in connection with Plaintiff’s pending
 26 motion to compel filed against MindGeek (Dkt. 224) before he would begin a search
 27 for responsive documents. See Doyle Decl., ¶ 10. Urman provides only boilerplate
 28 objections.
                                           53              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 57 of 84 Page
                                    ID #:5584


  1         This Court should require him to conduct a search promptly and to submit to
  2 Plaintiff “declarations or affidavits detailing the nature of his ‘reasonable inquiry’ to
  3 locate responsive documents, and such declarations must address the inquiry he made
  4 on a request-by-request basis.” A. Farber & Partners, 234 F.R.D. at 190 (ordering
  5 this procedure in the face of an “astounding” “paucity” of documents produced by
  6 defendant, which production still involved 600 documents, far more than the zero
  7 documents that Urman has produced here).
  8 IV.     URMAN’S POSITION
  9         A.    Plaintiff’s Motion to Compel Should Be Denied in Full
 10               1.     Plaintiff’s Motion Should Be Denied for Failure to
 11                      Meaningfully Meet and Confer
 12         This Motion comes before the Court due to two factors: Plaintiff’s ill-founded
 13 position that she was permitted to seek merits discovery in this phase despite the
 14 District Court’s explicit ruling to the contrary; and her refusal to meaningfully meet
 15 and confer with the Individual Defendants, even after the Court ruled she could not
 16 take merits discovery in this phase, made clear that Plaintiff’s requests will be
 17 narrowed to the permitted topics of jurisdictional discovery, and instructed the parties
 18 to meet and confer on discovery within those topics. Plaintiff’s refusals to follow the
 19 Local Rules and these Court’s directions alone warrant denial of her motion.
 20                      a.     Plaintiff Has Failed to Meaningfully Meet and Confer
 21         On July 29, 2022, Judge Carney ordered all parties, including Bernd Bergmair,
 22 Feras Antoon, Davis Tassillo, and Corey Urman (collectively, the “Individual
 23 Defendants”) to proceed to jurisdictional discovery. Akoglu Decl., Ex. A. The Court
 24 authorized only jurisdictional discovery and explicitly directed Plaintiff and her
 25 counsel “to not use this opportunity to further complicate this case.” Akoglu Decl.,
 26 Ex. C at 2. Despite this, Plaintiff propounded exceedingly broad discovery requests
 27 to the Individual Defendants that went well beyond the jurisdictional discovery
 28 ordered.     For example, several requests (both alone and in combination) seek
                                           54               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23       Page 58 of 84 Page
                                     ID #:5585


  1 essentially every piece of paper and every email and electronic record the Individual
  2 Defendants possess related to MindGeek. See e.g., Request for Production of
  3 Documents (RFP) No. 2 (seeking all documents “concerning … Your affiliation …
  4 or ownership of MindGeek”); RFP No. 7 (seeking all documents related to any
  5 “economic interest in, or business relationship with MindGeek … by You”); RFP No.
  6 9 (seeking all documents “relating to MindGeek’s past or present … offices,
  7 departments, executives and personnel”); RFP No. 22 (seeking all documents
  8 identifying MindGeek subsidiaries “and the nature of [their] assets, businesses and
  9 services”); RFP No. 50 (seeking all documents related to the “distribution of content
 10 to any MindGeek [site]”). Plaintiff similarly seeks documents from Individual
 11 Defendants reflecting every penny going in or out of MindGeek to or from any party
 12 for any purpose for an eight-year period, without limitation. See RFP No. 16 (seeking
 13 records regarding “all payments made to or on behalf of [any MindGeek] entity,
 14 affiliate, subsidiary or related entity”); Interrogatory No. 2 (seeking a description “in
 15 detail” of every transaction “in which ownership, shares, indebtedness, secured
 16 interests, options, derivatives, or other capital related transactions occurred” involving
 17 MindGeek).
 18         The Individual Defendants timely responded to Plaintiff’s interrogatories
 19 (“ROG”) and RFPs on September 20, 2022, and October 20, 2022, respectively. After
 20 over a month of no communication, Plaintiff sent a L.R. 37-1 letter on December 5,
 21 2022, to Individual Defendants seeking to immediately meet and confer.                 In
 22 accordance with L.R. 37-1, the Individual Defendants met and conferred with Plaintiff
 23 on December 15, 2022.         This meet-and-confer was limited to the requests for
 24 production of documents and did not include the interrogatories. At this meeting, the
 25 Individual Defendants’ counsel pointed out that Plaintiff had served her extremely
 26 broad discovery requests at a time when she was admittedly seeking merits discovery
 27 and asked if there were any of her requests that she was willing to narrow. Plaintiff
 28 said no. (Akoglu Decl. ¶19.) At this same meeting, the Individual Defendants also
                                           55               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 59 of 84 Page
                                    ID #:5586


  1 requested that Plaintiff hold off filing any motion to compel, because her motion to
  2 compel the MindGeek corporate defendants, which raised similar issues, was then
  3 scheduled to be heard by the Court on December 27, 2022, and the Court’s ruling
  4 would potentially resolve or narrow the issues between Plaintiff and the Individual
  5 Defendants. Plaintiff would not agree to do so. The meet-and-confer ended with
  6 Plaintiff’s promise to consider questions raised by the Individual Defendants and to
  7 get back to Individual Defendants about open issues. The next day, on December 16,
  8 2022, the jurisdictional discovery cutoff was extended four months, until May 1,
  9 2023. Akoglu Decl., Ex. D.
 10         Without any further correspondence or meeting regarding the open issues from
 11 the December 15 meet-and-confer, Plaintiff served a motion to compel on all
 12 Individual Defendants on Friday, December 23, with a due date of Friday, December
 13 30, and set a hearing date for the motion on February 1, 2023. Plaintiff did so despite
 14 having explicitly said to Defendants that she would consider points made during the
 15 December 15 meet-and-confer.6
 16         The Individual Defendants informed the Plaintiff that the dispute is not ripe for
 17 presentation to the Court.7 Because Plaintiff had served her motion to compel the day
 18 before the Christmas holiday weekend (even though her motion did not need to be
 19 filed until Wednesday, January 11 per L.R. 37-3), Individual Defendants sought an
 20 extension to respond until at least January 10. Plaintiff did not agree to Individual
 21
      6
 22     The written record suggests that Plaintiff’s counsel began drafting this motion even
      before they met and conferred with Defendant on December 15, 2022. On November
 23   16, 2022, a month before they met and conferred with Defendant, Plaintiff’s counsel
 24   stated that Plaintiff’s motion to compel was “in progress.” Akoglu Decl., Ex. G at
      6. Plaintiff reiterated its point on December 7, 2022 in a different motion to compel
 25   that “Plaintiffs will be filing a separate motion to compel the Individual Defendants
 26   to comply with discovery obligations.” Akoglu Decl., Ex. J at 2.
      7
     Within the same email the Individual Defendants noted the parties had yet to meet
 27
    and confer on the interrogatories in violation of LR 37-1, which requires parties to
 28 “confer in a good-faith effort to eliminate the necessity for hearing the motion.”
                                              56                 CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23       Page 60 of 84 Page
                                     ID #:5587


  1 Defendants’ requested extension until December 27, 2023, after the Christmas
  2 holiday weekend. Akoglu Decl., Ex. H.
  3         On January 4, counsel for the Individual Defendants reached out to Plaintiff’s
  4 counsel to schedule a second meet-and-confer to narrow the substantial number of
  5 disputes at issue in the present motion to compel. At that meet-and-confer, which
  6 took place on January 6, 2023, the Individual Defendants’ counsel again asked if
  7 Plaintiff would narrow her requests, because they address merits issues and are
  8 otherwise overbroad. Just as in the December 15 meet-and-confer, Plaintiff did not
  9 identify a single request that she was willing to narrow. Similarly, because almost all
 10 the document requests to the Individual Defendants mirrored those addressed to the
 11 MindGeek corporate defendants, the Individual Defendants’ counsel specifically
 12 asked Plaintiff’s counsel if he intended for the Individual Defendants to produce
 13 identical copies of the 7,000 pages of corporate documents already produced by
 14 MindGeek, if they had them in their possession. Plaintiff’s counsel confirmed that he
 15 expected the production of such duplicative records. See Akoglu Decl. at ¶19. In
 16 addition, because many of the discovery requests to the Individual Defendants went
 17 well beyond any MindGeek related materials and sought purely personal information,
 18 the Individual Defendants sought Plaintiff’s agreement that she would not require
 19 such personal information to be produced. For example, Plaintiff’s Interrogatory No.
 20 4 and RFP Nos. 11 and 12 are not limited to MindGeek-related business contacts the
 21 Individual Defendants may have had with this jurisdiction. However, at the meet-
 22 and-confer, Plaintiff maintained that the Individual Defendants must provide
 23 information regarding purely personal contacts they may have had with the
 24 jurisdiction. Indeed, Plaintiff’s counsel specifically insisted that Plaintiff had a right
 25 to know if the Individual Defendants had ever taken any purely personal trips to the
 26 United States, such as a personal trip to Disneyland. See Akoglu Decl. at ¶19.
 27
 28
                                           57              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23       Page 61 of 84 Page
                                     ID #:5588


  1          At the January 6 meet-and-confer, Plaintiff’s counsel similarly rejected all but
  2 one of Individual Defendants’ procedural proposals to alleviate the burden of motion
  3 practice. Specifically:
  4            To lessen the substantial burden on the Court, the Individual Defendants
  5             sought to consolidate the four motions to compel into a single motion.
  6             Plaintiff would not agree. Nevertheless, the Individual Defendants have
  7             worked hard to include in the individual submissions demanded by Plaintiff
  8             identical arguments where appropriate.
  9            To narrow the issues substantially, the Individual Defendants asked that
 10             their responses be made after the Court ruled on the then-pending motion to
 11             compel discovery from the MindGeek Entity Defendants because certain
 12             issues relevant to the Individual Defendants’ dispute with Plaintiff would be
 13             litigated there. Plaintiff would not agree.
 14            To narrow the issues substantially, the Individual Defendants sought a
 15             further meet-and-confer before January 18, which would have had no
 16             impact on the February 8 hearing date. Plaintiff would not agree.
 17            To accurately convey to the Court what the Individual Defendants had done,
 18             the Individual Defendants told Plaintiff’s counsel that they had already been
 19             searching for documents relevant to jurisdictional discovery, yet Plaintiff
 20             would not amend its contrary assertions in the motion.
 21          With respect to the one and only area where Plaintiff’s counsel noted they
 22 would consider narrowing the requests – RFPs 10, 14, 18, 24, 30, 32, and 36 – they
 23 asked the Individual Defendants to send a follow-up email, which Individual
 24 Defendants did on Monday, January 9. Akoglu Decl., Ex. I. However, Plaintiff
 25 responded to that email on Tuesday, January 10, without providing any additional
 26 information or narrowing any requests. Akoglu Decl., Ex. I.
 27
 28
                                           58              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23       Page 62 of 84 Page
                                    ID #:5589


  1         On January 10, Mr. Urman and the other Individual Defendants provided
  2 Plaintiff with their portions of the joint stipulation in connection with Plaintiff’s
  3 proposed motion to compel.
  4         On January 11, the Court held a hearing on Plaintiff’s separate motion to
  5 compel the MindGeek Entity Defendants, at the conclusion of which the Court
  6 directed the parties to meet and confer further. Following this hearing, and in light of
  7 the Court’s direction to meet and confer on that motion, Plaintiff’s counsel advised
  8 that Plaintiff did not intend to file the motions to compel the Individual Defendants
  9 that day and suggested that the parties meet and confer to see if they could “narrow
 10 or eliminate” any issues in dispute. (Akoglu Decl., Ex. Q.)
 11         On behalf of all the Individual Defendants, counsel responded the next
 12 morning, January 12, that they remained “interested in trying to narrow and, if
 13 possible, resolve all or at least some of the open issues,” and proposed a meet and
 14 confer. Id.
 15         The following day, January 13, counsel for one of the Individual Defendants
 16 (on behalf of all) had a telephone conference with Plaintiff’s counsel in which defense
 17 counsel reiterated a desire to continue discussions. During that call, the Individual
 18 Defendants emphasized that the parties could make significant progress if Plaintiff
 19 would identify specific categories of documents that were relevant and of greatest
 20 significance to her. Id. Counsel for Plaintiff said he would take that request back to
 21 his colleagues. Id.
 22         Later the same day, as a follow-up from this meeting, the Individual Defendants
 23 proposed a meet-and-confer for the next business day and noted that they would “like
 24 to continue discussing potential areas of agreement and ways to narrow and clarify
 25 the issues that may need to go to the Magistrate Judge.” Id. Plaintiff did not respond
 26 to this email.
 27         Notwithstanding Plaintiff’s lack of a response, the Individual Defendants
 28 contacted Plaintiff again on January 18, asking to “continue the meet and confer
                                           59               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23        Page 63 of 84 Page
                                     ID #:5590


  1 process.” (Akoglu Decl., Ex. Q.) The email noted that “it would be constructive to
  2 identify and itemize the specific materials the plaintiff is seeking,” and urged Plaintiff
  3 to provide such a list to facilitate the parties’ potential discussions. Id.
  4         Later the same day, Plaintiff responded that she would “hold off” filing the
  5 motions to compel “today.” Id. Plaintiff’s email agreed that “we should confer
  6 further to try to reach agreements,” saying Plaintiff would be “back in touch shortly.”
  7 Id. But Plaintiff was never back in touch with Individual Defendants, and then,
  8 inexplicably reversed course sometime in the next two weeks.
  9         Instead of providing a narrowed list or setting a time to meet and confer, the
 10 next communication from Plaintiff after her January 18, 2023, email was on February
 11 1, when Plaintiff served her portion of the joint stipulation related to the instant motion
 12 to compel. The next day, the Individual Defendants again invited Plaintiff to engage
 13 in a further meet and confer rather than proceed with motion practice, reiterating yet
 14 again their request that, as a starting point for discussions, Plaintiff provide them with
 15 a list of narrowed categories of documents she is seeking. (Akoglu Decl. Ex. R.)
 16 Plaintiff refused even to respond to this request, saying only that it would proceed
 17 with motion practice. Id. Plaintiff insisted that the Individual Defendants provide
 18 their portions of the joint stipulation within six days of receiving Plaintiff’s revised
 19 portion, in contravention of the seven-day response period required under L.R. 37-
 20 2.2. Id. Mr. Urman is submitting this response early in order to avoid burdening the
 21 Court with yet another dispute.
 22                       b.    Plaintiff’s Motion Should Be Denied Due to Her
 23                             Failure to Meet and Confer
 24         As the above facts demonstrate, Plaintiff has refused to meaningfully engage
 25 in the meet-and-confer process.         From the beginning, her approach has been
 26 overbroad and inflexible. Despite the fact that her requests on their face require
 27 production of every piece of paper in the Individual Defendants’ possession related
 28 to MindGeek – and were admittedly served in furtherance of merits discovery –
                                       60                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23         Page 64 of 84 Page
                                    ID #:5591


  1 Plaintiff has refused to narrow almost the entirety of her document requests to the
  2 relevant jurisdictional discovery issues authorized by Judge Carney. The Individual
  3 Defendants have repeatedly asked Plaintiff to provide a list of specific items relevant
  4 to jurisdictional discovery that she seeks from these individuals, but have not even
  5 been provided with a response, much less a list. (Akoglu Decl. at ¶19.) Plaintiff has
  6 adopted extreme and impractical positions, asserting that the Individual Defendants
  7 should be required to produce identical copies of the 7,000 pages of corporate records
  8 MindGeek has already produced (Akoglu Decl. at ¶19) and that they are required to
  9 produce wholly personal information about their finances and travel that have
 10 absolutely nothing to do with MindGeek business, including all personal financial
 11 account records for an eight-year period or information about whether they ever took
 12 a family trip to Disneyland. (Akoglu Decl. at ¶19). Plaintiff’s wholesale refusal to
 13 engage in discussions with the Individual Defendants – other than to demand
 14 responses to her overbroad, vague, and admittedly merits-focused discovery requests
 15 as written – is not consistent with the letter or spirit of Local Rule 37-1 or Federal
 16 Rule 26.
 17        Indeed, even after the Court emphasized the need to meet-and-confer at the
 18 January 11, 2023, hearing on the motion to compel the MindGeek Entity Defendants,
 19 Plaintiff has rebuffed multiple offers by the Individual Defendants to try to narrow
 20 the issues. One would have thought that, after the Court’s previous direction to
 21 Plaintiff to further meet and confer with the MindGeek Entity Defendants, Plaintiff
 22 would have similarly met and conferred with the Individual Defendants and provided
 23 the requested list of specific items she believed she was entitled to. And indeed, on
 24 January 18, 2023, Plaintiff said she would meet and confer further, and indicated a
 25 willingness to provide that list. But Plaintiff’s subsequent inexplicable reversal
 26 (which Plaintiff has never acknowledged, much less explained) is a plain violation of
 27 L.R. 37-1.
 28        Admittedly, this is not really a surprise. Plaintiff advised the Court on multiple
                                               61                  CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 65 of 84 Page
                                    ID #:5592


  1 occasions before the December 15, 2022, and January 6, 2023, meet-and-confers –
  2 including once even before she sent her December 5, 2022, Rule 37-1 letter – that she
  3 was already preparing to move to compel. On November 16, 2022, Plaintiff’s counsel
  4 advised the Court that Plaintiff’s motion to compel the Individual Defendants was “in
  5 progress.” See Transcript of November 16, 2022, Hearing (Akoglu Decl., Exhibit G
  6 at 6.). Similarly, Plaintiff confirmed her intentions on December 7, 2022, advising
  7 the Court in connection with a different motion to compel that “Plaintiffs will be filing
  8 a separate motion to compel the Individual Defendants to comply with discovery
  9 obligations.” See Plaintiff’s Supplemental Memorandum in Support of Motion to
 10 Compel Defendant MindGeek Entities’ Response to Plaintiff’s First Request for
 11 Production of Documents and Interrogatories, Dkt. No 233, at n. 1 (Akoglu Decl.,
 12 Exhibit J at 2). These statements to the Court (made before she had exchanged even
 13 a single word with the Individual Defendants about their discovery responses)—as
 14 well as her extreme and inflexible positions in the parties’ subsequent meet-and-
 15 confers, followed by her refusal to even respond to Individual Defendants’ multiple
 16 requests to meet in the last month—make plain that Plaintiff never had any intention
 17 of engaging in good faith discussions with the Individual Defendants about narrowing
 18 her requests to relevant, non-duplicative materials. See Goldwater Bank, N.A. v.
 19 Elizarov, 2022 WL 17078950, at *2 (C.D. Cal. Oct. 7, 2022) (movant’s drafting of
 20 motion to compel “before trying to meet and confer” showed he did not make “good
 21 faith effort” to resolve issues as required by L.R. 37-1).
 22         Courts in this district have repeatedly ruled that a movant’s failure to
 23 meaningfully engage in the meet and confer process is a basis to deny their motion to
 24 compel. Id. at *2 (“[D]efendant asked this court to rule on a multitude of purported
 25 discovery disputes without having made a full and reasonable effort to resolve these
 26 disputes . . . . Because the instant motion was brought without defendant first
 27 complying with Local Rule 37-1, the court denies it without prejudice.”);
 28 Rahmatullah v. Charter Commc’ns, LLC, 2021 WL 1593242, at *3 (C.D. Cal. Mar.
                                        62            CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23      Page 66 of 84 Page
                                    ID #:5593


  1 25, 2021) (“Plaintiff’s decision to abandon meet-and-confer negotiations prematurely
  2 and burden the court’s time and resources with a 223-page joint stipulation is not well
  3 taken.”); Mulligan v. Nichols, 2013 WL 12124004, at *2 (C.D. Cal. July 12, 2013)
  4 (“[T]he Court does not countenance shotgun discovery, duplicative discovery, or
  5 inadequate meet and confer efforts which result in unnecessary 100-plus page
  6 discovery motions”); see also ExxonMobil Oil Corp. v. S. California Edison Co., 2013
  7 WL 12166215, at *6 (C.D. Cal. Nov. 19, 2013) (“After further meet and confer, the
  8 Motion may, if necessary, be renewed as to any remaining disputes in these two areas;
  9 however, the parties are cautioned that if the Court deems that the meet and confer
 10 process has been inadequate, a further motion will be summarily denied.”). See also
 11 Acosta v. Austin Elec. Servs. LLC, 324 F.R.D 210, 212 (D. Ariz. 2017) (ordering
 12 plaintiff’s counsel to show cause regarding failure to adequately meet and confer prior
 13 to moving to compel). The Court can and should deny Plaintiff’s motion on this basis
 14 alone, and order her to meet and confer with the Individual Defendants in the
 15 substantive and good faith manner required by the Local Rules.
 16               2.     Plaintiff Improperly Seeks MindGeek Corporate Records
 17                      from Mr. Urman (RFP Nos. 1-17, 19-31, 33-54)
 18         Plaintiff seeks MindGeek corporate documents from Mr. Urman—an
 19 individual who lives in Canada and is no longer associated with MindGeek—when
 20 she also sought virtually the same corporate documents from the MindGeek Entity
 21 defendants (RFP Nos. 1-17, 19-31, 33-54). The Mind Geek Entity Defendants are the
 22 best source of these documents, relating to, among other things, emails regarding
 23 Plaintiff; MindGeek’s income, revenue, and other financial information; MindGeek’s
 24 ownership; and the Individual Defendants’ involvement in setting MindGeek’s
 25 policies regarding CSAM.         The MindGeek Entities have made a substantial
 26 production relating to these issues and we understand that additional document
 27 productions will be made in the coming weeks.
 28
                                           63              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23      Page 67 of 84 Page
                                    ID #:5594


  1         Plaintiff seeks a breathtaking array of corporate documents from the Individual
  2 Defendants. Almost every one of her document requests seeks corporate documents
  3 that would be created and maintained by MindGeek. Among other topics, Plaintiff’s
  4 requests seek documents regarding: MindGeek’s “corporate and ownership” structure
  5 (RFP No. 6); its “organizational structure, offices, departments, executives and
  6 personnel” and all of its subsidiaries, directors, managers, members and executives
  7 (RFP Nos. 9, 20, 21, 22, 26); all of its financial records, including audited financial
  8 statements, ledgers, profit and loss statements, balance sheets, records of revenues
  9 and profits, payroll records and expense records (RFP Nos. 12, 16, 17, 25); its
 10 quarterly and annual tax filings (RFP No. 17); minutes and presentation materials for
 11 its board of directors meetings (RFP No. 16); its “intellectual property” (RFP Nos. 8,
 12 53, 54); its “IT infrastructure,” data storage and cloud storage (RFP No. 31); its
 13 document preservation policies (RFP No. 35); and its agreements with bank and credit
 14 card networks (RFP No. 51). These corporate records are overwhelmingly ones
 15 created or maintained by MindGeek corporate employees – not Mr. Urman – and to
 16 the extent Mr. Urman received copies, they were likely sent to him via MindGeek’s
 17 email system. Mr. Urman does not have access to MindGeek’s email system or
 18 corporate records. Yet Plaintiff insists that Mr. Urman is the right party for these
 19 corporate-focused discovery requests.
 20         In both the December 15, 2022 and January 6, 2023 meet-and-confers, the
 21 Individual Defendants suggested that it would be more efficient for the parties to
 22 identify the responsive documents MindGeek had to which Plaintiff was entitled, and
 23 then limit the universe of documents sought from the Individual Defendants to any
 24 non-duplicative documents they might possess. In the January 6, 2023 meet-and-
 25 confer, the Individual Defendants specifically asked Plaintiff’s counsel if he insisted
 26 that the Individual Defendants produce identical copies of the 7,000 pages of
 27 corporate documents already produced by MindGeek, if they had them in their
 28
                                           64              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 68 of 84 Page
                                    ID #:5595


  1 possession. Plaintiff’s counsel confirmed that they expected the production of such
  2 duplicative records. See Akoglu Decl., ¶19.
  3         In seeking to burden the Individual Defendants with these requests for
  4 MindGeek’s documents (rather than raising these issues with MindGeek), Plaintiff
  5 takes refuge in the proposition that a party may seek duplicative documents from
  6 different parties. See supra at 46. While this may be true in the abstract, Rule
  7 26(b)(2)(C)(i) specifically requires a court to limit discovery that is “unreasonably
  8 cumulative or duplicative, or can be obtained from some other source that is more
  9 convenient, less burdensome, or less expensive.” Here, seeking corporate documents
 10 from an individual like Mr. Urman when the same documents are simultaneously
 11 being sought from MindGeek is unreasonably duplicative, burdensome, and
 12 misguided. It would plainly be “more convenient” and “less burdensome” to obtain
 13 the documents from MindGeek. Indeed, MindGeek already has produced a good
 14 number of corporate documents that definitively describe the financial issues that
 15 Plaintiff seeks to understand. Yet Plaintiff seeks to compel Mr. Urman to produce
 16 these materials rather than the company to which the documents actually belong.
 17 Plaintiff should direct her concerns, if any, regarding MindGeek’s production of
 18 corporate financial information to MindGeek, and her motion to compel the
 19 Individual Defendants to produce materials to which they have little or no access
 20 should be denied.8 See, e.g., Williams v. City of Hartford, 2016 WL 1732719, at *11
 21 (D. Conn. May 2, 2016) (denying motion to compel with respect to plaintiff’s
 22 document request because another defendant was already ordered to produce the
 23 sought-after records); Kleppinger v. Texas Dep’t of Transportation, 2012 WL
 24
 25
      Plaintiff also argues that the Court has previously “rejected” certain arguments in
      8


 26 this case, and refers to the Court’s decision addressing Plaintiff’s Motion for Issuance
    of Letter Rogatory to Grant Thornton entities. Akoglu Decl., Ex. B. However, not
 27
    only was Mr. Urman not a party to the Grant Thornton dispute, the circumstances of
 28 the Grant Thornton entities are entirely distinguishable from Mr. Urman.
                                               65                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23      Page 69 of 84 Page
                                    ID #:5596


  1 12893652, at *3 (S.D. Tex. Mar. 12, 2012) (denying motion to compel individual
  2 defendants (current and former employees of the Texas Department of
  3 Transportation) to respond to interrogatories because the interrogatories were
  4 “unreasonably duplicative of discovery requests directed to Defendant [Texas
  5 Department of Transportation]”).
  6         Another reason for Plaintiff to address her requests for MindGeek corporate
  7 records to MindGeek is that many responsive documents are potentially protected by
  8 MindGeek’s attorney-client privilege.      The Individual Defendants cannot waive
  9 MindGeek’s privileges, and any objections Plaintiff may have to the MindGeek’s
 10 privilege claims should be raised with MindGeek’s counsel. Similarly, the corporate
 11 records sought quite likely contain confidential business information of MindGeek,
 12 which its counsel would have to review in order to determine whether to designate
 13 any confidential or highly confidential under the Court’s protective order. Akoglu
 14 Decl., Ex. F. This duplicative process would not be necessary if Plaintiff directed her
 15 requests for corporate documents from the corporate defendants, an approach that is
 16 much more convenient and much less burdensome, and thus in accord with Fed. R.
 17 Civ. P. 26.
 18               3.     Documents and Communications Concerning Plaintiff
 19                      (RFP 1)
 20         Plaintiff seeks all communications “concerning Serena Fleites.” RFP No. 1.
 21 According to the Amended Complaint, Ms. Fleites’s content appeared on a MindGeek
 22 website at various times between June 2014 and June 2020.9 Mr. Urman has searched
 23 for responsive documents from this period, and has found none.
 24               4.     Plaintiff’s Requests Go Far Beyond Jurisdictional Discovery
 25
 26   9
     As this Court has previously held in this case, “only contacts occurring prior to the
    event causing the litigation may be considered.” Akoglu Decl., Ex. B at 3 (citing
 27
    Farmers Ins. Exch. v. Portage La Prairie Mut. Ins. Co., 907 F.2d 911, 913 (9th Cir.
 28 1990)).
                                            66                 CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23       Page 70 of 84 Page
                                    ID #:5597


  1                      a.    CSAM policies (RFP Nos. 5, 10, 30, 33-42, 46, 49, 52)
  2         Plaintiff’s document requests regarding CSAM policies exceed the scope of
  3 jurisdictional discovery authorized by the Court. Judge Carney authorized Plaintiff
  4 to take discovery regarding the Individual Defendants’ role in directing or
  5 implementing MindGeek’s CSAM policies as a potential basis for specific personal
  6 jurisdiction. Akoglu Decl., Ex. A at 5-7. Although Plaintiff argues in this stipulation
  7 that she is entitled to documents regarding the Individual Defendants’ roles in “setting
  8 policies” and the “adoption of policies” regarding CSAM (supra at 48), her requests
  9 actually reach far beyond this. Plaintiff’s requests instead seek a broad range of
 10 documents, including practically any document mentioning CSAM policies, even if
 11 they have nothing to do with any Individual Defendant’s role in the direction or
 12 implementation of those policies.
 13         Mr. Urman has agreed to search for any documents regarding the direction or
 14 implementation of CSAM policies, consistent with Judge Carney’s order. Although
 15 the Individual Defendants advised Plaintiff of this effort during their January 6 meet-
 16 and-confer, Plaintiff would not remove this issue from her motion to compel.10 See
 17 Akoglu Decl., ¶19.
 18                      b.    Where Money Flows (RFP Nos. 2-3, 6-9, 13-29, Rog
 19                            Nos. 2-3)
 20         Judge Carney recognized that Plaintiff “might also have a workable alter ego
 21 theory pursuant to which she can impute the jurisdictional contacts of the non-
 22 objecting MindGeek Entity Defendants to the MindGeek Individual Defendants,” and
 23 ordered jurisdictional discovery on potential alter ego claims, even though Plaintiff’s
 24
 25   10
       As discussed with Plaintiff’s counsel, Mr. Urman does not have access to
 26 MindGeek’s email systems, messaging services, or other MindGeek corporate
    records. Further, MindGeek has collected and is searching through all of Mr. Urman’s
 27
    relevant documents in MindGeek’s possession from when he was an employee. Mr.
 28 Urman is searching for responsive materials in the documents in his possession.
                                           67                  CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 71 of 84 Page
                                    ID #:5598


  1 allegations on this point are “rather conclusory, vague, and indeed, quite difficult to
  2 follow at times.” Akoglu Decl., Ex. A at 6. The questions on alter ego are whether
  3 “(1) there is such unity of interest and ownership that the separate personalities of the
  4 corporation and the individuals no longer exist” and “(2) failure to disregard the
  5 corporation would result in fraud or injustice.”        Symettrica Ent., Ltd. v. UMG
  6 Recordings, Inc., 2019 WL 8806093, at *4 (C.D. Cal. Sept. 20, 2019) (quoting Flynt
  7 Distrib. Co., Inc. v. Harvey, 734 F.2d 1389, 1393 (9th Cir. 1984)). But Plaintiff’s
  8 purported alter ego discovery goes far beyond these questions.
  9         Instead, Plaintiff seeks from the Individual Defendants a full forensic
 10 examination of essentially every financial document of a multi-national corporation
 11 over nearly a decade. As just one example of their 23 requests directed at this topic,
 12 Plaintiff’s RFP No. 16, seeks, among other categories, all documents of each and
 13 every MindGeek affiliate reflecting capitalization, revenues, profits, tax payments,
 14 distributions, dividends, shareholder agreements, lender agreements, as well as profit
 15 and loss statements, balance sheets, tax records, payroll records and expense records.
 16 Even more inexplicably broad are Plaintiff’s requests for documents from the
 17 Individual Defendants reflecting every penny going in or out of MindGeek to or from
 18 any other party for any purpose for an eight-year period, without limitation. See RFP
 19 No. 16 (seeking records regarding “all payments made to or on behalf of [any
 20 MindGeek] entity, affiliate, subsidiary or related entity”).
 21         The Defendants have already produced to Plaintiff documents or information
 22 sufficiently establishing “how the money flows” at MindGeek and further discovery
 23 on this point would not be proportional to the needs of the case under Rule 26. A
 24 review of Plaintiff’s document requests demonstrates that she has already been
 25 provided with corporate documents regarding the topics she seeks information about.
 26 For example, RFP Nos. 2, 3, 7 and 8 seek information about Mr. Urman’s ownership
 27 interest in MindGeek and monies received from the company.
 28
                                           68              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23       Page 72 of 84 Page
                                     ID #:5599


  1
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  6
  7         Plaintiff also makes numerous requests seeking documents regarding
  8 MindGeek’s corporate structure and identifying MindGeek subsidiaries. RFP Nos. 6,
  9 9, 19, 20, 22, 26. MindGeek’s interrogatory responses explained the ownership status
 10 and structure of each of the MindGeek defendants. See Akoglu Decl., Ex. P at
 11 Response No. 1. MindGeek also produced to Plaintiff corporate organizational charts
 12 for 2014 through 2021, which show all MindGeek entities, not just the defendant
 13 entities. Id., Ex. L at ¶8(c). Further, with respect to MindGeek’s 2018 corporate
 14 reorganization, the company produced documents showing the transfers of assets
 15 undertaken in connection with this reorganization, as well as before and after versions
 16 of the corporate organizational structure. Id. at ¶10(b). MindGeek also produced
 17 certificates of incorporation, by-laws and other corporate filings for numerous
 18 MindGeek entities. Id. at ¶10(k)-(bb). MindGeek will also produce a summary
 19 document that is used by the company to explain the flow of money within the
 20 corporate structure.
 21         Plaintiff also seeks financial records, audited financial statements and tax
 22 returns of MindGeek. RFP Nos. 13, 16, 17, 25. MindGeek produced audited financial
 23 statements for each entity preparing such statements for 2014 through 2019. Id. at
 24 ¶8(d)-(g). In addition, MindGeek produced (or will produce) detailed financial
 25 reporting packages, both quarterly and annual, for all MindGeek entities from 2014
 26 through June 2021, which include Consolidated Statements of Earnings by business
 27 unit, Stand-Alone Balance Sheets, Consolidated Statements of Cash Flow, and
 28 auditor’s notes. Id. at ¶8(i). Plaintiff has also been provided with multiple sets of tax
                                                69                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23       Page 73 of 84 Page
                                     ID #:5600


  1 returns filed by MindGeek entities. Id. at ¶13(g)-(h). In addition, at Plaintiff’s
  2 request, the Court issued letters rogatory to multiple Grant Thornton entities abroad
  3 who provided audit and accounting services to MindGeek affiliates. Akoglu Decl.,
  4 Ex. B.
  5          Plaintiff also seeks documents identifying MindGeek’s directors and managers.
  6 RFP No. 21.        MindGeek identified the directors/managers of each corporate
  7 defendant, and their dates of service, including in its interrogatory responses (Akoglu
  8 Decl., Ex. P at 12-15; see also Ex. O) and has produced minutes of the shareholder
  9 meetings and Board of Directors/Managers meetings for the corporate defendants, as
 10 well as board resolutions, including those reflecting approval of dividend distributions
 11 to shareholders. See Akoglu Decl., Ex. L at ¶10(c)-(j), 13(b)-(f), (l)-(p), (u).
 12          Plaintiff seeks documents reflecting services provided by one MindGeek entity
 13 to another. RFP Nos. 23, 27-28. Defendants have produced the relevant service
 14 agreements governing these arrangements. Id. at ¶13(v)-(x). Finally, the MindGeek
 15 Entity Defendants have arranged for a Rule 30(b)(6) corporate representative located
 16 in a foreign country to travel to the United States to explain MindGeek’s corporate
 17 structure, but to date, the Plaintiff has yet to schedule his deposition.
 18          In addition, as noted above, MindGeek will be producing a comprehensive set
 19 of the operative transaction documents from both the 2013 and 2018 reorganizations
 20 governing the ownership and financing of the company. MindGeek will also produce
 21 documents regarding any so-called “related party transactions” between the company
 22 and any entities owned by any of the Individual Defendants, as well as transfer pricing
 23 studies and other documents related to such transactions.
 24          Plaintiff leaves all of this out of her portion of this joint stipulation. She
 25 provides no explanation why audited financial statements prepared by a prominent
 26 accounting firm, detailed internal financial reporting packages presented to the
 27 companies’ own boards, and corporate tax returns filed with the relevant taxing
 28 jurisdictions fail to provide an adequate picture of MindGeek’s finances. Plaintiff’s
                                             70               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23       Page 74 of 84 Page
                                    ID #:5601


  1 position is that this is insufficient, and she is apparently entitled to every potential
  2 document that could relate in any way to MindGeek’s finances and, even worse, the
  3 personal finances of each Individual Defendant.
  4         Similarly, Plaintiff does not explain how the internal corporate organizational
  5 charts actually relied upon by company personnel for eight years are somehow
  6 insufficient to advise her of the company’s corporate structure. But to the extent the
  7 discovery provided so far is allegedly insufficient, defendants have also agreed to
  8 produce the entire set of corporate transactional documents governing the ownership
  9 and financing of the company, as well as internal documents explaining the flow of
 10 funds within MindGeek’s corporate structure. Likewise, Plaintiff fails to explain how
 11 the corporate resolutions authorizing distributions to the Individual Defendants who
 12 are MindGeek shareholders (produced by MindGeek and to be produced by Mr.
 13 Bergmair) – and which specify dates, amounts and recipients of these dividends – are
 14 insufficient to show how “the money flows” at MindGeek.
 15         Moreover, to the extent Plaintiff contends that she needs to explore whether the
 16 Individual Defendants diverted money to themselves from MindGeek, she has been
 17 provided with the relevant information. First, Mr. Urman did not receive any money
 18 from MindGeek other than compensation and dividends, details of which have already
 19 been produced in full by MindGeek, and he did not redistribute those monies to
 20 MindGeek or any related entity, or to any Individual Defendant. Second, Mr.
 21 Bergmair and MindGeek have produced documents reflecting distributions from the
 22 company to the entities he owns, reflecting the dates, amounts, payors and recipients.
 23 Third, MindGeek will produce documents reflecting any so-called “related party
 24 transactions” with entities owned by the Individual Defendants (although Mr. Urman
 25 had no “related party transactions” with MindGeek). As a result, Plaintiff will have
 26 records of the monies flowing from MindGeek to the Individual Defendants to explore
 27 her theory. Anything beyond that would amount to a classic “fishing expedition.”
 28 Plaintiff’s request to inspect every invoice of the company for an eight-year period –
                                              71               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 75 of 84 Page
                                    ID #:5602


  1 hoping that she might stumble upon some undisclosed related party transaction – is
  2 simply excessive, not proportional to the needs of the case and a wholly unnecessary
  3 intrusion on privacy where there is no conceivable relation to jurisdictional issues. In
  4 the absence of some concrete, articulable reason to believe that specific additional
  5 categories of documents will reveal such diversion of funds, the records which have
  6 been (or will be) produced showing transactions with the Individual Defendants are
  7 sufficient to allow her to explore whether she has “a workable alter ego theory,” as
  8 authorized by Judge Carney’s Order.
  9         As noted above, the documents reflecting MindGeek’s corporate ownership,
 10 structure and finances, and its distributions to the Individual Defendants, are virtually
 11 all corporate documents created and maintained by the company, and Plaintiff should
 12 direct her requests regarding corporate ownership and structure and financial details
 13 to MindGeek in the first instance. Of course, to the extent that there are specific, non-
 14 duplicative documents not produced by MindGeek that Mr. Urman possesses, he has
 15 offered to discuss such targeted requests with Plaintiff. But as described above,
 16 Plaintiff has rebuffed Individual Defendants’ request for her to itemize the documents
 17 she seeks from them. Rather than employ targeted requests and engage in discussions
 18 with counsel, Plaintiff has adopted an all-or-nothing approach, refusing to narrow her
 19 discovery requests and seeking in this motion to enforce compliance with requests so
 20 broad as to arguably require production of every document in Mr. Urman’s possession
 21 related to MindGeek (RFP No. 2 (“All documents and communications concerning or
 22 relating to Your affiliation with, employment by, or ownership of MindGeek, any
 23 MindGeek Related Entity, or any MindGeek Tubesites”)) and records of every penny
 24 flowing in or out of the company for an eight-year period (RFP No. 16).
 25         Plaintiff’s request for records regarding the personal finances of each
 26 Individual Defendant also far exceeds the proper scope of jurisdictional discovery
 27 because their personal finances are irrelevant to the alter ego theory. So, for example,
 28 Plaintiff makes the irrelevant and overbroad request for all “monthly, quarterly and
                                            72                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 76 of 84 Page
                                    ID #:5603


  1 annual bank and investment statements” of Mr. Urman (RFP No. 18), with no
  2 limitation that they relate to MindGeek or Plaintiff’s causes of action. This request
  3 plainly exceeds the scope of jurisdictional discovery. As described above, Plaintiff
  4 has been provided with documents that reflect how the money flows at MindGeek,
  5 including the distributions from MindGeek to the Individual Defendants. In the case
  6 of Mr. Urman, MindGeek has already produced documents that reflect the entirety of
  7 the distributions provided to Mr. Urman for the relevant time period. And he did not
  8 use these monies to augment MindGeek or any Individual Defendant. (Supplemental
  9 Rog Response #2).) Therefore, there is no reason to require Mr. Urman to produce
 10 documents evidencing the same distributions. What an Individual Defendant does
 11 with the money he receives as a MindGeek shareholder or employee for purposes
 12 having nothing to do with related party transactions is simply irrelevant to the alter
 13 ego analysis. Moreover, the request is plainly overbroad on its face in that it calls for
 14 production of documents related to accounts that have nothing whatsoever to do with
 15 MindGeek.       Indeed, this request is a perfect example of Plaintiff’s “fishing
 16 expedition” approach to discovery in this action and her disregard of Judge Carney’s
 17 admonition not to “complicate” the case. Akoglu Decl., Exhibits A and B.
 18         In short, Defendants have already produced documents and information that
 19 tell Plaintiff “how the money flows” at MindGeek11 and allows her to explore her alter
 20 ego theory. Requiring the Individual Defendants to search for additional financial
 21 documents – including personal financial materials not relevant to this case, much
 22 less within the bounds of jurisdictional discovery – is simply not “proportional to the
 23 needs of the case” under Fed. R. Civ. P 26(a). See Alaska Elec. Pension Fund v. Bank
 24
      11
      Plaintiff also seeks to compel responses to RFP Nos. 2 and 3. But as noted above,
 25
    information regarding Mr. Urman’s ownership of MindGeek and the monies he
 26 received from the company have been provided to Plaintiff in his interrogatory
    responses (ROG Nos. 1, 2) and in the interrogatory responses and documents
 27
    produced by MindGeek related to the corporate and ownership structure of the
 28 company.
                                            73                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23       Page 77 of 84 Page
                                     ID #:5604


  1 of Am. Corp., No. 14-CV-7126 (JMF), 2016 WL 6779901, at *3 (S.D.N.Y. Nov. 16,
  2 2016) (“Rule 26(b)(1)’s proportionality requirement means [the requested
  3 documents] ‘marginal utility’ must also be considered.”); see also Hake v. Citibank,
  4 N.A., No. 19MC00125JGKKHP, 2020 WL 1467132, at *6 (S.D.N.Y. Mar. 26, 2020)
  5 (limiting discovery on proportionality grounds because the “need for the documents
  6 sought [was] . . . marginal at best” “[g]iven the marginal relevance of th[e]
  7 documents”); Martinez v. Optimus Properties, LLC, No. 17-3582, 2018 WL 5906904,
  8 at *2–3 (C.D. Cal. May 9, 2018) (observing that the relevance of certain document
  9 requests was “somewhat diminished by . . . [their] incremental potential value” and
 10 narrowing the requests on proportionality grounds).
 11                5.    Plaintiff’s Requests for Documents and Information Relative
 12                      to Mr. Urman’s Jurisdictional Contacts Exceed this Court’s
 13                      Rulings Concerning the Permissible Scope of Jurisdictional
 14                      Discovery
 15                      a.    Plaintiff Seeks Information Related to Personal
 16                            Contacts with the Jurisdiction (Rog No. 4, RFP Nos. 11-
 17                            12)
 18         Plaintiff’s discovery requests to the Individual Defendants (ROG No. 4, RFP
 19 Nos. 11-12) are overbroad to the extent they seek documents regarding their personal
 20 contacts with California and the United States.          To establish specific personal
 21 jurisdiction over the Individual Defendants, Plaintiff must show that they
 22 purposefully directed their activities at this jurisdiction and that her claims arose from
 23 those forum-directed activities. See AMA Multimedia LLC v. Wanat, 970 F.3d 1201,
 24 1207 (9th Cir. 2020). Plaintiff alleges that she was harmed by MindGeek’s conduct
 25 and the theory that Judge Carney authorized her to explore in jurisdictional discovery
 26 was whether the Individual Defendants directed or implemented MindGeek policies
 27 that resulted in her alleged injuries. See Akoglu Decl., Ex. A at 5-7. Plaintiff’s alleged
 28 injuries did not arise from the Individual Defendants’ personal contacts with the
                                           74               CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 78 of 84 Page
                                    ID #:5605


  1 jurisdiction so those contacts could not possibly form the basis for personal
  2 jurisdiction over them.
  3         Yet Interrogatory No. 4 and RFP Nos. 11 and 12 are not limited to MindGeek-
  4 related business contacts the Individual Defendants have had with this jurisdiction.
  5 Instead, Plaintiff insists that the Individual Defendants must also provide information
  6 regarding purely personal contacts they may have had with the jurisdiction. Indeed,
  7 in the January 6, 2023 meet-and-confer, Plaintiff’s counsel specifically insisted in
  8 response to defense counsel’s question that Plaintiff had a right to know if the
  9 Individual Defendants had ever taken any purely personal trips to the United States,
 10 such as, for example, if they took their families on a personal trip to Disneyland.12
 11 See Akoglu Decl., ¶19. This position is meritless and such personal contacts are
 12 irrelevant to the issue of personal jurisdiction and outside the scope of the
 13 jurisdictional discovery permitted by Judge Carney’s ruling.
 14         Despite the parties’ disagreement over whether personal trips are relevant, at
 15 the January 6, 2023 meet-and-confer, Mr. Urman’s counsel offered to work with
 16 MindGeek and produce to Plaintiff any ascertainable information regarding Mr.
 17 Urman’s business trips to the United States during the relevant period (beyond what
 18 was provided in Interrogatory No. 4), including information about the trip’s date,
 19 location, and purpose. See Akoglu Decl., ¶19. In the context of Interrogatory No. 4,
 20 at the same meet-and-confer, Mr. Urman’s counsel also informed Plaintiff’s counsel
 21 that Mr. Urman did not own any real estate in the United States; and therefore, did
 22 not have any additional information to provide about potential properties that are the
 23 subject of that interrogatory.
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 26   12
      In response to this question, Plaintiff’s counsel initially acknowledged that a
    hypothetical personal trip to Disneyland was not relevant, but later reversed his
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    position and insisted that it was relevant, refusing to narrow the discovery requests to
 28 MindGeek-related business contacts. See Akoglu Decl., ¶ at 19.
                                               75                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 79 of 84 Page
                                    ID #:5606


  1                      b.    Plaintiff Seeks Communications with Other Defendants
  2                            Related to this Action (RFP No. 4)
  3         In this stipulation, Plaintiff claims that she seeks “communications with other
  4 defendants,” but omits that her request actually seeks communications among
  5 defendants “related to this Action.” (RFP No. 4). This request is plainly irrelevant to
  6 the question of personal jurisdiction over Mr. Urman since it seeks communications
  7 well after the date Plaintiff’s alleged claims arose. The Amended Complaint alleges
  8 that the latest date Plaintiff’s content was on a MindGeek website was in June 2020.
  9 See Akoglu Decl., Ex. N at ¶268. As this Court has previously held, “only contacts
 10 occurring prior to the event causing the litigation may be considered.” See Akoglu
 11 Decl., Ex. B at 3 (citing Farmers Ins. Exch. v. Portage La Prairie Mut. Ins. Co., 907
 12 F.2d 911, 913 (9th Cir. 1990)). Moreover, as the Individual Defendants advised
 13 Plaintiff during the January 6 meet-and-confer, the Court struck an identical document
 14 request from Plaintiff’s proposed letters rogatory to Grant Thornton entities earlier in
 15 this case. Akoglu Decl., Ex. B at 6. Moreover, this request does not relate to either
 16 of the two subjects on which the Court authorized jurisdictional discovery: the
 17 direction or implementation of CSAM policies or alter ego.
 18                      c.    Plaintiff Seeks Materials Beyond the Scope of
 19                            Authorized Jurisdictional Discovery (RFP No. 32 and
 20                            ROG Nos. 4)
 21         Plaintiff seeks from each Individual Defendant his list of contacts, without
 22 regard to whether they are business or personal, or have anything at all to do with
 23 MindGeek. This request is a transparent fishing expedition and needlessly invasive
 24 in light of the fact that a person’s contacts likely include family members, personal
 25 friends, doctors, clergy, and other private and confidential relationships. It is also
 26 beyond the scope of the authorized jurisdictional discovery. Indeed, Plaintiffs have
 27 conceded that this request relates to the merits of the case, not the jurisdiction issue.
 28 When MindGeek objected to an identical document request for the Individual
                                     76              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23       Page 80 of 84 Page
                                   ID #:5607


  1 Defendants’ contact lists on the grounds that they were not related to jurisdiction,
  2 Plaintiff did not attempt to justify the request as jurisdictionally relevant. Instead,
  3 Plaintiff repeated that merits discovery was permissible and argued that the
  4 information was relevant to “Plaintiff’s claims and likely to lead to additional
  5 evidence concerning the individual Defendants’ liability.” See Akoglu Decl., Ex. M
  6 at 4 (emphasis added).       In any event, any contacts with whom Mr. Urman
  7 communicated about jurisdictionally relevant issues will be ascertainable from any
  8 documents reflecting Mr. Urman’s jurisdictionally responsive communications.13
  9        Plaintiff’s insistence on obtaining Mr. Urman’s tax returns is likewise wholly
 10 unjustified. Plaintiff provides no argument to the contrary, and her cited authority,
 11 A. Farber & Partners, Inc., 234 F.R.D. at 191, demonstrates that courts perform a
 12 separate, two-step inquiry before ordering production of tax returns. In Farber, the
 13 Court ordered production of the returns because of their relevance to the plaintiff’s
 14 civil RICO claims, not personal jurisdiction. Id.
 15        It is well-established that courts “are typically reluctant to compel their
 16 disclosure because of both the private nature of the sensitive information contained
 17 therein and the public interest in encouraging the filing by taxpayers of complete and
 18 accurate returns.” Uto v. Job Site Services Inc., 269 F.R.D. 209, 212 (E.D.N.Y. 2010);
 19 Nat. Gas Pipeline Co. of Am. V. Energy Gathering, Inc., 2 F.3d 1397, 1411 (5th Cir.
 20 1993) (“Income tax returns are highly sensitive documents; courts are reluctant to
 21 order their routine disclosure as a part of discovery. Not only are the taxpayer’s
 22 privacy concerns at stake, but unanticipated disclosure also threatens the effective
 23 administration of our federal tax laws given the self-reporting, self-assessing
 24 character of the income tax system.”). Before courts order production of tax returns,
 25 they not only require a showing that the material is relevant, but they must also find
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      Mr. Urman has also provided Plaintiff a supplemental response to Interrogatory No.
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    6, supplementing the communication services he did or may have used during the
 28 relevant time period.
                                            77                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 267 Filed 02/08/23       Page 81 of 84 Page
                                     ID #:5608


  1 “that there is a compelling need for the returns because the information contained
  2 therein is not otherwise readily obtainable.” A. Farber & Partners, Inc., 234 F.R.D.
  3 at 191 (quoting Hilt v. SFC, Inc., 170 F.R.D. 182, 189 (D. Kan. 1997)). As the
  4 relevant information—where the money flows form the MindGeek Entities—is
  5 readily obtainable from the financial records of those companies, Plaintiff’s request
  6 to compel Mr. Urman’s tax returns should be denied.14
  7                6.    Mr. Urman Has Conducted A Reasonably Diligent Search
  8                      for Documents
  9         Plaintiff is wrong regarding Mr. Urman’s search efforts: Mr. Urman and his
 10 counsel have engaged in considerable review of the documents in Mr. Urman’s
 11 possession. See Akoglu Decl., ¶22. As explained to Plaintiff’s counsel, three of the
 12 Individual Defendants, including Mr. Urman, as former employees, no longer have
 13 access to documents residing on media owned by a MindGeek entity. See Akoglu
 14 Decl., ¶21.
 15         To be clear, none of the Individual Defendants’ counsel represented to
 16 Plaintiff’s counsel that Individual Defendants had not begun their search for
 17 responsive documents. See Akoglu Decl., ¶21-22. Instead, Individual Defendants’
 18 counsel informed Plaintiff’s counsel that it was hard to do a productive search given
 19 the scope of Plaintiff’s requests, not that no search had been conducted. See Akoglu
 20 Decl., ¶21-22.      When Individual Defendants’ counsel sought to resolve this
 21 misunderstanding – after first becoming aware of it through Plaintiff’s draft of this
 22 Joint Stipulation – Plaintiff’s counsel would not correct Plaintiff’s portion of the Joint
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 26   Plaintiff also demands that Mr. Urman be ordered to produce the tax returns “for the
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    various entities listed in response to Interrogatory No. 4.” However, Mr. Urman did
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    not list any entities in response to Interrogatory No. 4. Plaintiff’s request is
 28 inapplicable and should be denied.
                                               78                CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23        Page 82 of 84 Page
                                    ID #:5609


  1 Stipulation on this point, which has been inaccurate since it was first served on the
  2 Individual Defendants on December 23, 2022.15 See Akoglu Decl., Ex. I.
  3 V.      CONCLUSION
  4         A.    Plaintiff’s Conclusion
  5         For the foregoing reasons, Plaintiff respectfully requests that the Court grant
  6 this Motion in full, and order Defendant Urman to produce documents in response to
  7 Plaintiff’s RFPs 1-30, 32-42, 46, 49, and 52 and to supplement his responses to
  8 Plaintiff’s ROGs 2, 3, 4, and 6. As a Defendant in this action, Urman has the
  9 obligation to carry out a search for, and respond fully to, Plaintiff’s relevant discovery
 10 requests. Urman has yet to even search for responsive material, let alone carried his
 11 burden to show the disputed discovery should not be allowed. Urman was a senior
 12 executive, Vice President, and employee of the companies at the center of this
 13 litigation, and his refusal to produce even the most basic of communications
 14 concerning Plaintiff and his roles in directing, guiding, and controlling the policies
 15 governing, and content found on, MindGeek’s tubesites defy the Court’s previous
 16 discovery rulings and fly in the face of the Court’s specific direction for the Defendant
 17 to submit to jurisdictional discovery. Accordingly, this Court should order Defendant
 18 Urman to respond to the aforementioned discovery requests.
 19         B.    Defendant’s Conclusion
 20         For the reasons stated in this Joint Stipulation and supporting exhibits,
 21 Mr. Urman respectfully requests that the Court deny Plaintiff’s Motion in full.
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      Further, despite Plaintiff’s arguments in section III(A)(5), Mr. Urman is not
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    currently withholding any documents on the basis of privacy, as Plaintiff stated during
 28 the meet-and-confer conference on December 15, 2022. Akoglu Decl., ¶23.
                                           79                 CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 267 Filed 02/08/23     Page 83 of 84 Page
                                    ID #:5610


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                                           80              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS     Document 267 Filed 02/08/23     Page 84 of 84 Page
                                   ID #:5611


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                                           81              CASE NO. 21-CV-04920-CJC-ADS
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
